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                                  No. 1:20-CV-00024-RJS-DBP

                             In The
  Supreme Court of the
     United States
     BRETT L ELIASON; AGENT, EXECUTOR, TRUSTEE, AND
      ATTORNEY IN FACT FOR MAX D ELIASON “ME” (et al)
                                                                  Plaintiff


  THE UNITED STATES DEPARTMENT OF JUSTICE AND THE
CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS
          CHRIST OF LATTER-DAY SAINTS (et al)
                                                                Defendant

MOTION FOR SUMMARY JUDGEMENT AGAINST THE DEFENDANTS AND TO
COMPEL THE CITIZENS OF THE UNITED STATES OF AMERICA TO BEHOLD THE
MOST CORRUPT GROUP OF FELONS IN THE HISTORY OF MANKIND WHO ARE
SITTING IN POSITIONS OF POWER AND TRUST IN THE UPPER ESCHELONS OF
BOTH CHURCH AND STATE AND WHO IN REALITY CONSIDER THEMSELVES
MEMBERS OF THE WORLD ELITE AND PROPONENTS OF THE NEW WORLD ORDER
CONSISTING OF BROTHELS AND WHORES FROM THE NEW WORLD ORDER OF
SATANIC “ILLUMINATED” SOCIETIES WHICH IS USING SECRET HOLOGRAPHIC
TECHNOLOGY AND PROMISES OF A UTOPIAN SOCIETY TO DECEIVE HUMANITY
INTO BELIEVING THE “PURE TRUTH” BEHIND WHAT “LIES BENEATH” THE
FAÇADE OF THEIR ALIEN AGENDA CREATED BY FILTHY EVIL SOULS WHOSE
GOAL IS TO EXTEND THE WISHES OF HERR HITLER AND HERR HIMLER BY
REDUCING WORLD POPULATION BY 95% THROUGH MAN-MADE VIRUSES,
POISONED WATER, CHEM TRAILS, AND INTENTIONAL ASSAULTS BY THE UNITED
NATIONS AND ONE WORLD GOVERNEMNT AND RELIGION WHICH BLAMES
TERRORISTS, VIRUSES, AND ALIENS FOR THEIR INTENTIONAL ASSAULTS
AGAINST 6 BILLION MEMBERS OF HUMANITY. THEY ARE NOW GUILTY OF
CAPITAL TREASON AND CAPITAL MURDER SINCE THE ONE NATION UNDER GOD
WHICH ENSURES THE BLESSINGS OF LIBERTY TO OURSELVES AND OUR
POSTERITY STILL STANDS WITH PRESIDENT DONALD TRUMP AS THE
COMMANDER IN CHIEF REPRESENTING THE GOD AND COUNTRY THEY BETRAY.
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     IN THE UNITED STATES SUPREME
       COURT AND DISTRICT COURTS
BRETT L ELIASON; AGENT, TRUSTEE, BENEFICIARY OF   THIRD MOTION FOR SUMMARY JUDGEMENT
THE ESTATES OF MAX AND JOYCE ELIASON              AGAINST THE DEFENDANT CORPORATION OF
                                                  THE PRESIDENT OF THE CHRUCH OF JESUS
MAX D ELIASON AND THE MAX D ELIASON ESTATE        CHRIST OF LATTER-DAY SAINTS. AND EACH
AND TRUST DATED OCTOBER 28TH, 2015 (MAX D         MEMBER OF THE FIRST PRESIDENCY AND THE
ELIASON IS LIVING AS TRUSTEE AND SETTLOR)         QUORUM OF THE TWELVE APOSTLES WHO
                                                  CONTINUE TO CONCEAL THE FELONY
THE JOYCE S. ELIASON ESTATE AND TRUST DATED       EMBEZZLEMENT OF THE $200 MILLION
OCTOBER 28TH, 2015 (deceased May 21st, 2018)      ESTATES OF MAX AND JOYCE ELIASON

KYLIE MARIE ELIASON AND BRITTNIE LYNNE ELIASON    MOTION TO COMPEL THE MEMBERS OF THE
(BENEFICIARIES OF THE GRANDCHILDREN’S TRUST)      UNITED STATES DEPARTMENT OF JUSTICE
                                                  AND WILLIAM BAR AS THE US ATTORNEY
VERONIQUE P ELIASON; (SUCCESSOR TRUSTEE TO        GENERAL TO REVIEW THE FIRST AMENDMENT
BRETT L ELIASON UNDER THE 2016 TRUST)             RIGHTS THEY SWORE AN OATH TO PROTECT
                                                  AND TO RETURN AND REPORT THEIR
_____________________________                     EXPLANATION AS TO WHY THEY ARE
Plaintiff                                         ENTITLED TO IGNORE SAID RIGHTS HEREIN

v.                                                MOTION TO COMPEL THE OFFICERS OF THE
                                                  COROPORATION OF THE PRESIDENT OF THE
THE UNITED STATES DEPARTMENT OF JUSTICE           CHURCH OF JESUS CHRIST OF LATTER-DAY
                                                  SAINTS AND DALLIN H OAKS TO REVIEW THE
THE CORPORATION OF THE PRESIDENT OF THE           FIRST COMMANDMENT OF GOD UNDER WHICH
CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS       BOTH HE AND THE OTHER OFFICERS SERVE
                                                  THIS NATION AND THE MEMBERS OF THE LDS
DALLIN H OAKS, TRUSTEE OF THE CORPORATION OF      CHURCH AND TO RETURN AND REPORT THEIR
THE PRESIDENT OF THE CHURCH OF JESUS CHRIST       EXPLANTION AS TO WHY THEY ARE ENTITLED
OF LATTER-DAY SAINTS                              TO IGNORE SAID LAWS OF GOD

MITT ROMNEY, UNITED STATES SENATOR FOR THE        MOTION TO INFORM THE CITIZENS OF THE
STATE OF UTAH                                     COUNTRY THAT WAS FORMED “UNDER GOD
                                                  WITH LIBERTY AND JUSTICE FOR ALL” THAT
WILLIAM BARR; THE UNITED STATES ATTORNEY          DEMOCRACY AS DEFINED BY THE UNITED
GENERAL                                           STATES CONSTITUTION IS HANGING BY A
                                                  THREAD AND UNLESS “WE THE PEOPLE”
                                                  STAND TOGETHER AGAINST TYRANNY AND
CHIEF JUDGE ROBERT D SHELBY OF THE UNITED
                                                  THIS GROUP OF NEW WORLD ORDER WHORES
STATES DISTRICT COURT OF UTAH
                                                  AND BROTHELS; THEN EVERYTHING THE
                                                  UNITED STATES STANDS FOR IS ALREADY
CHIEF JUDGE PHILLIP A BRIMMER OF THE UNITED
                                                  DEAD SO BEGIN PRACTICING PRAYING TO AN
STATES DISTRICT COURT OF COLORADO
                                                  ALIEN SLUT GOD NAMED DALLIN H OAKS AND
                                                  HIS WHORE MITT ROMNEY…
CRAIG MCCULLOUGH, ATTORNEY FOR MAX AND
JOYCE ELIASON AND SR PARTNER OF KMC LAW NOW
REPRESENTING BRYAN AND LISA STEPHENS AND          UT CASE No. 1:20-CV-00024-RJS-DBP
MARK AND LAURIE ELIASON WHICH IS A CRIMINAL       Chief Judge: ROBERT J SHELBY
BREACH OF FIDUCIARY DUTY AND 2ND DEG FELONY       Magistrate Judge: DUSTIN B PEAD
LISA STEPHENS. SOLE TRUSTEE OF THE JOYCE S
ELIASON ESTATE DATED 10-28-15 AND THE MAX D       CO CASE No. 1:20-CV-00959-PAB-SKC
ELIASON TRUST DATED 10-28-15                      Chief Judge: PHILLIP A BRIMMER
                                                  Magistrate Judge: S KATO CREWS




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THE FIRST PRESIDENCY AND THE QUORUM OF THE        THE LAW OFFICES OF KIRTON McCONKIE, PC,
TWELVE APOSTLES OF THE CHURCH OF JESUS
CHRIST OF LATTER-DAY SAINTS INCLUDING:            LEE WRIGHT; PRESIDENT OF KMC LAW
                                                  CAMERON HANCOCK; VP OF KMC LAW
PRESIDENT RUSSEL M NELSON,                        KEN OLSEN; MANAGER OF KMC LAW
PRESIDENT HENRY B EYERING,                        TOM MECHAM, MANAGER OF KMC LAW
PRESIDENT M RUSSEL BALLARD,                       CHRIS HILL, MANAGER KMC LAW
ELDER JEFFREY R HOLLAND                           GREG MOESINGER, MANAGER KMC LAW
ELDER DIETER F UCHTDORF,
ELDER DAVID A BEDNAR                              EQUITY PARTNERS AND HIGH MANAGERIAL
ELDER QUENTIN L COOK,                             AGENTS OF KIRTON MCCONKIE LAW OFFICES
ELDER D TODD CHRISTOFFERSON,                      DAX D ANDERSON, TIMOTHY B ANDERSON,
ELDER NEIL L ANDERSEN,                            ROD N ANDREASON, BRENT A ANDREWSEN
ELDER RONALD L RASBAND,                           RANDY T AUSTIN, MATTHEW C BALLARD,
ELDER GARY E STEVENSON,                           LORIN C BARKER, JASON W BEUTLER,
ELDER DALE G RENLUND,                             KENNETH W BIRRELL, CHRISTOPHER E
ELDER GARRET W GONG                               BRAMHALL, JOSEPH R BRUBAKER, BRIAN W
ELDER ULISSES SOARES                              BURNETT, JAMES T BURTON, TYLER
                                                  BUSWELL, RYAN C CADWALLADER, THOMAS K
JOHN H HUBER, UNITED STATES ATTORNEY GENERAL      CHECKETTS, TONY CHRISTENSEN, CHRISTIAN
FOR THE DISTRICT OF UTAH                          S COLLINS, DAVID R CONKLIN, MICHAEL W
                                                  DURHAM, ALEXANDER SUSHKU, BRETT D
SEAN REYES, ATTORNEY GENERAL FOR THE STATE        EKINS, JAMES E ELLSWORTH, DAVID S EVANS,
OF UTAH                                           WALLACE O FELSTED, RYAN B FRAZIER,
                                                  GEOFF GERMANE, DAVID L GLAZIER, CHAD A
GOVERNOR GARY HERBERT OF THE STATE OF UTAH        GRANGE, R SHAWN GUNNERSON, BEN
                                                  HATHAWAY, READ R HELLEWELL, KENNETH E
                                                  HORTON, LOYAL C HULME, DALE E HULSE,
JUDGE ADAM MOW OF THE THIRD DISTRICT COURT OF     ROBERT C HYDE, SCOTT E ISAACSON, LARRY
THE STATE OF UTAH                                 S JENKINS, RANDY K JOHNSON, MICHAEL D
                                                  JOHNSTON, ADAM M KAAS, BRYANT J
JUDGE ROBERT P. FAUST OF THE THIRD DISTRICT       KELLER, KEVIN L KIMBALL, JOHN B LINDSAY,
COURT OF THE STATE OF UTAH                        PARK LLOYD, DANIEL S MCCONKIE, OSCAR W
                                                  MCCONKIE III, ANTONIO A MEJIA, CRAIG
THE SALT LAKE DISTRICT ATTORNEY’S OFFICE          METCALF, RUSSELL S MITCHELL, JACOB T
                                                  MUKLEWICS, MERRILL F NELSON, STERLING S
CHRIS ALBERICH; DEPUTY DISTRICT ATTORNEY          OLANDER, JOSEPH V OSMOND, ALEXANDER N
                                                  PEARSON, DANIEL H PURDIE, JESSICA
RORI STOKES, DISTRICT ATTORNEY FOR THE SALT       RANCIE, LANCE D RICH, MATTHEW K
LAKE CITY DISTRICT ATTORNEY’S OFFICE              RICHARDS, SHAWN T RICHARDS, ERIC B
                                                  ROBINSON, JOSHUA RUPP, PETER C
JUDGE JILL H PARRISH OF THE UNITED STATES         SCHOFIELD, JUSTIN W STARR, SWEN R
DISTRICT COURT OF UTAH                            SWENSON, DAVID B TINGEY, BRIAN D TUCKER,
                                                  JON E WADDOUPS, ADAM WAHLQUIST, DAVID
THE UNIFIED POLICE DEPARTMENT AND THE             M WAHLQUIST, MICHAEL C WALCH, THOMAS D
HOLLADAY PRECINCT AND OFFICER M. NAYLOR           WALK, ROBERT D WALKER, STEVEN L
PERSONALLY                                        WHITEHEAD, BRINTON M WILKINS, DAVID S
                                                  WILSON, R GARY WINGER, EVAN R WITT, JOEL
                                                  D WRIGHT, ROBBIE G YATES, ELAINE C YOUNG
THE SALT LAKE CITY POLICE DEPARTMENT
                                                  DEBRA DEMKE; NOTARY PUBLIC FOR KMC
THE UTAH BAR ASSOCIATION                          LAW
KAY BURNINGAHM, ATTORNEY AT LAW;                  BRYAN P STEPHENS, INDIVIDUALLY; CPA AND
                                                  MANAGING PARTNER OF SMC, LLC
PARK ROMNEY, ATTORNEY AT LAW;
                                                  MARK D ELIASON; TRUSTEE
KENT SNIDER, ATTORNEY AT LAW

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ATTORNEY BRENT O HATCH                           LAURIE ELIASON, TRUSTEE

CHIEF JUDGE PHILLIP A BRIMMER AND                THE ELIASON EDUCATION TRUST
MAGISTRATE JUDGE S KATO CREWS OF THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF
                                                 THE ELIASON MARITAL TRUST
COLORADO

CORBETT / GWILLIAM PC,                           THE ELIASON DESCENDANTS DECEASED
DAVID M CORBETT, PARTNER                         CHILDREN’S TRUST
AARON SCOTT GWILLIAM, PARTNER
ATTORNEY R DAVID BISHOP                          CHARITABLE TRUSTS CREATED BY CRAIG
                                                 MCCULLOUGH AS PER ELIASON 2015 TRUST
SCALLEY READING BATES HANSEN & RASMUSSEN,
P.C. DARWIN H. BINGHAM, ATTORNEY AT LAW          MARIE A O’ROURKE, VCITIMS’ RIGHTS
MARLON L BATES, FORD G SCALLEY, J BRUCE          OMBUDSMAN FOR THE UNITED STATES
READING, SCOTT N RASMUSSEN                       DEPARTMENT OF JUSTICE

THE LAW OFFICES OF CHRISTENSEN JENSEN            A.G. PETERSON; EXECUTIVE DIRECTOR OF
ROGER P CHRISTENSEN                              THE STATE OF UTAH JUDICIAL CONDUCT
GEORGE W BURBIDGE II                             COMMISSION
JEFF ENQUIST
                                                 JULIE HARMAN, DAVID WERNER, ZANT DOTY,
RENCHER ANJEWIERDEN LAW OFFICES, JARYL L         KINDRA KAUER, PARK BEUTLER, LIZ FELIX,
RENCHER, D GREGORY ANJEWIERDEN, BENJAMIN K       CHRISTINA HIGGINS
LUSTY, MICHAEL J COLLINS
                                                 BISHOPRIC OF THE RIDGETOP WARD JASON
THE LAW OFFICES OF KIRKLAND ELLIS BASED IN       HULL, PAUL COLES, DAVID PETERSON, RYAN
CHICAGO (APPROX. 450 EQUITY PARTNERS)            SLOBIDIAN,

BAIR ELITE, LLC AND ROBERT BAIR, PAULINE BAIR,   RICH HENDERSHOT, STAKE HIGH
JON BAIR, ZAC BAIR INDIVIDUALLY                  COUNCILMAN OF THE NORTH SALT LAKE
                                                 STAKE; SPENCER RICHARDS, RICK
MY 3-D ME, LLLC                                  STRATFORD, NOLAN TAYLOR; STAKE
                                                 PRESIDENCY OF THE NORTH SALT LAKE
THE ELIASON 2015 TRUST;                          STAKE

THE ELIASON 2016 TRUST;                          THE SALT LAKE TRIBUNE; JESSICA MILLER,
                                                 PEGGY STACK, JENNIFER NAPIER-PEARCE,
                                                 PAUL HUNTSMAN, HUNTSMAN FAMILY
ELIASON EIGHT, LLC;
                                                 INVESTMENTS, LLC
ELIASON ENTERPRISES LLC
                                                 AMY STEPHENS, JASON STEPHENS, LINDSAY
                                                 STEPHENS, WHITNEY STEPHENS, AUSTIN
THE JOYCE S ELIASON TRUST DATED 10-28-15         STEPHENS, SPENCER STEPHENS, DEREK
                                                 ELIASON, DYLAN ELIASON, ANGELA ELIASON
THE MAX D ELIASON TRUST DATED 10-28-15
                                                 THE FEDERAL BUREAU OF INVESTIGATION
THE MAX D ELIASON DYNASTY TRUST                  (FBI)

THE JOYCE S ELIASON DYNASTY TRUST                THE INTERNAL REVENUE SERVICE (IRS)

THE JOYCE ELIASON GRANDCHILDRENS TRUST           JUDGE ROYAL HANSEN OF THE THIRD
                                                 DISTRICT COURT PROBATE
THE GREAT-GRANDCHILDRENS TRUST
                                                 JUDGE KARA PETIT OF THE THIRD DISTRICT
THE ELIASON DYNASTY TRUST                        COURT PROBATE

THE ELIASON SUPPORT TRUST                        THE QUORUM OF THE SEVENTIES OF THE
                                                 CHURCH OF JESUS CHRIST OF LATTER-DAY
                                                 SAINTS

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THE ELIASON SPOUSES SUBTRUST                    FORMER PRESIDENT GEORGE W BUSH

EACH UNITED STATES DISTRICT JUDGE WITHIN THE    THE SKULL AND BONES SOCIETY AND EACH
DISTRICTS OF UTAH AND COLORADO WHO ARE          MEMBER THEREOF
AWARE OF THIS MATTER AND DO NOTHING BUT HIDE
BEHIND THE ROBES THEY DEFILE BY NOT DEFENDING   BILL GATES
THE UNITED STATES CONSTITUTION
                                                WARREN BUFFET
THE STATE OF UTAH
                                                HENRY KISSENGER
THE STATE OF COLORADO
                                                THE ROTHSCHILD BLOODLINE
THE BILDERBERG GROUP
                                                THE DUPONT BLOODLINE
THE FREE MASONS
                                                THE ROCKEFELLAR BLOODLINE
THE ROMAN CATHOLIC CHURCH
                                                THE DISNEY BLOODLINE
PRESIDENT GEORGE W BUSH
                                                THE ASTOR BLOODLINE
THE UNITED NATIONS
                                                THE COLLINS BLOODLINE
THE MORMON MAFIA
                                                THE FREEMAN BLOODLINE
THE LUCIFERIANS
                                                THE KENEDY BLOODLINE
THE WORLD ELITE
                                                THE LI BLOODLINE
THE ILLUMINATI
                                                THE RUSSEL BLOODLINE
THE NEW WORLD ORDER
                                                THE ONASSIS BLOODLINE
THE MEMBERS OF SCIENTOLOGY INCLUDING ANY
MEMBERS OF HOLLYWOOD WHO ADHERE TO THE          THE VAN DUYN BLOODLINE
BELIEF THAT THEY ARE CONSIDERED “WORLD ELITE”
                                                THE MEROVINGIAN BLOODLINE
ALL MEDIA BROADCASTING COMPANIES WITHIN THE
UNITED STATES INCLUDING BUT NOT LIMITED TO:
                                                THE REYNOLDS BLOODLINE
THE WASHINGTON POST
                                                THE “INTERNATIONAL BANKERS
THE NEW YORK TIMES
                                                THE IHF
THE DESERET NEWS
                                                THE WORLD BANK
THE WALL STREET JOURNAL
                                                THE FEDERAL BANK OF INTERNATIONAL
                                                SETTLEMENT
FOX NEWS
                                                THE INSTITUTE FOR POLICY STUDIES
ABC
                                                THE STANFORD RESEARCH INSTITUTE
NBC
                                                THE BROOKINGS INSTITUTE
CBS
                                                THE TAVIS STOCK INSTITUTE
BILL AND HILLARY CLINTON
                                                THE COMMITTEE OF 300

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THE PENTAGON REPRESENTING THE UNITED STATES   ESALIN INSTITUTE
DEFENSE DEPARTMENT
                                              PLANETARY CONGRESS
THE ASPEN INSTITUTE
                                              MEDIA ESTABLISHMENT
THE JASON SOCIETY
                                              WORLD FEDERALIST ASSOCIATION
P2/OPIUS DEI
                                              WORLD CONSTITUTION ASSOCIATION
THE ROSICRUCIANS
                                              BECHTOL
THE BOHEMIAN CLUB
                                              CARLYLE GROUP
THE KNIGHTS OF MALTA
                                              TRW
THE COUNCIL ON FOREIGH RELATIONS
                                              RATHEON
THE TRILATERAL COMMISSION
                                              RAND
NATO/EE/ECU
                                              WALMART
CLUB OF ROME
                                              TEXAS UTILITIES
MI-5
                                              ATLANTIC RICHFIELD-ARCO
THE CIA
                                              EXXON ESSO MOBIL
THE NSA
                                              TEXACO
THE KGP
                                              SHELL OIL
THE INTERPOL
                                              TENNECO
MOSSAD
                                              CORNING
HOMELAND SECURITY
                                              DOW JONES
MILITARY INTELIGENCE
                                              MBNA CITIGROUP
THE WORLD PARLIAMENT OF RELIGIONS
                                              CHASE MANHATTEN
THE NATIONAL COUNCIL OF CHURCHES
                                              BANK OF AMERICA
THE CHRISTIAN FUNDAMENTALISTS
                                              BANKERS TRUST
THE TEMPLE OF UNDERSTANDING
                                              GLAXO SMITH CLINE
THE UNIVERSALIST CHURCHES
                                              ARCHER DANIELS MIDLAND
VATICAN JESUITS
                                              CHEMICAL BANKING
SATANISTS
                                              SHERING PLOUGH
UNESCO
                                              GOLDMAN SACHS
LUCIS TRUST


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WORLD UNION                                 IBM

AMERICAN EXPRESS                            MOTOROLA

AT&T                                        DELL

PHILLIP MORRIS                              LEVI STRAUS

BOEING                                      JOHNSON & JOHNSON

AMTRAK                                      BRISTOL MEYERS SQUIBB

NORTHWEST AIRLINES                          ELY LILLY

AMERICAN AIRLINES                           PFIZER

FORD MOTORS                                 KISSENGER ASSOCIATION

CHRYSLER                                    AMWAY

GENERAL MOTORS                              MONSANTO

DEER                                        DOW CHEMICAL

NABISCO                                     NEWSCORP LIMITED

COCA-COLA                                   TIME WARNER/AOL

PEPSI                                       DISNEY

ANHEISER BUSH                               PBS

MCDONALDS                                   CNN

BURGER KING                                 REUTERS

AETNA                                       WASHINGTON TIMES

BLACKSTONE GROUP                            CHILDREN’S TV WORKSHOP

TEXACO                                      US NEWS AND WORLD REPORT

BP AMACO                                    WR NEW YORK TIMES

GE                                          TIME INC

ENRON                                       NEWSWEEK

DAIMLER/CHRYSLER                            WASINGTON POST

UNISYS                                      WALL STREET JOURNAL

ITT                                         REUTERS

XEROX                                       CNBC



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INTEL

WILLIAM BARR; THE UNITED STATES ATTORNEY
GENERAL

THE UNITED STATES SUPREME COURT MEMBERS

NANCY PELOSI; SPEAKER OF THE HOUSE OF
REPRESENTATIVES AND MEMBER OF THE
LEGISLATIVE BRANCH

MIKE PENCE; PRESIDENT OF THE SENATE AND
MEMBER OF THE LEGISLATIVE BRANCH

MIKE POMPEO; THE UNITED STATES SECRETARY OF
STATE AND SECRETARY OF THE CABINET OF
PRESIDENT DONALD TRUMP

UTAH SENATOR MIKE LEE

UTAH CONGRESSMEN BEN MCADAMS, CHRIS
STEWART, JON CURTIS, ROB BISHOP




THIRD PARTY PARTICIPANTS:

DONALD TRUMP; PRESIDENT OF THE UNITED STATES
AND OF THE EXECUTIVE BRANCH OF THE UNITED
STATES AND COMMANDER IN CHIEF WHOSE
INVOLVEMENT IS CURRENTLY BEING DENIED BY
THOSE SURROUNDING HIM AND REFUSING TO BRING
THIS MATTER TO HIS ATTENTION AND THEREBY
IMPLICATING THEMSELVES AS CO-CONSPIRATORS
COMMITTING TREASON AGAINST THE UNITED STATES
OF AMERICA WHICH IS PUNISHABLE BY DEATH IN THE
COUNTRY THEY STILL LIVE AND MUST ABIDE BY THE
LAWS AND TO THE REPUBLIC FOR WHICH IT STANDS

DISTRIBUTION REQUIRED FOR EACH MEMBER OF THE
HOUSE OF REPRESENTATIVES AND SENATE WHOSE
THREE-QUARTER VOTE FROM EACH BRANCH IS
REQUIRED TO “IMPEACH AND PROSECUTE” THE          JOHN AND JANE DOES TO BE ADDED AS
RESPECTIVE SENATOR AND CHIEF JUDGES OF THE       INDIVIDUALS AND/OR ENTITIES WHO ARE
UNITED STATES DISTRICT COURTS OF UTAH AND        EXPOSED WITHIN THIS MATTER AS HAVING
COLORADO RESPECTIVELY WHICH WERE                 ANY TYPE OFASSOCIATION WITH THE NEW
PRESIDENTIAL APPOINTMENTS.                       WORLD ORDER AND THEIR ASSOCIATED
                                                 KNOWLEDGE AS TO THE MURDEROUS
                                                 INTENTIONS THEREOF AND WHO SHOULD BE
                                                 CONSIDERED AS CRIMINALS OF WAR CRIMES
                                                 WHOSE DESIGNS SURPASS THE DEEPEST
                                                 DESIRES OF BROTHER ADOLPH HITLER AND
                                                 WHOSE SCRIPTURES OF MEIN KAMPH ALSO
                                                 WERE DEFEATED BY THE HOLY BIBLE THAT
                                                 THESE SHAMELESS THUGS DEFILE BEHIND
                                                 THEIR SELF-RIGHTEOUS BUT EVIL SMILES
                                                 CORRUPTED BY GREED AND POWER




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 “THE GREATEST STORY OF LIES THE DEFENDANTS
    HOPED WOULD NEVER BE TOLD” SINCE IT
   DISCLOSES THE PURE TRUTH BEHIND “DEEP
 STATE” AND THE “NEW WORLD ORDER HOUSES OF
           BROTHELS AND WHORES”
ANYONE WHO READS THIS MATTER SHOULD UNDERSTAND THAT THIS IS A “RICO ACT OF 1970” FILING
AGAINST THE DEFENDANTS CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS CHRIST OF
LATTER-DAY SAINTS AND THE UNITED STATES DEPARTMENT OF JUSTICE TO WHICH NEITHER ONE HAS
EVEN ONE DEFENSE AGAINST THE 50+ FELONIES WHICH WOULD SEE THEM ALL LOCKED UP FOR OVER
1,000 YEARS FOR THEIR INVOLVMENT IN YEARS OF PLANNING TO TAKE CONTROL OF ALL OF THE
MAJOR ASSETS SUCH AS THE MISSING OIL PROPETIES HEREIN WHICH WAS TARGET FOR
“ASSIMILATION” BY THE CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS CHRIST OF
LATTER-DAY SAINTS.

THE NEW WORLD ORDER HAS TAKEN CONTROL OF EACH OF THE MAJOR MEDIA COMPANIES
(INCLUDING THE POST THAT HAS APPARENTLY ‘DIED IN THE DARK’) OF THE NATION AND ARE NOW
USING THE UNITED STATES DEPARTMENT OF JUSTICE AS PAID ASSASINS TO SHUT THE KINGDOM OF
HEAVEN UP WHILE THEY COMPLETE THEIR BEHIND THE SCENES OPERATIONS OF PUTTING BROTHER
MITT ROMNEY INTO THE POLITICAL ARENA WHOSE TITLE ALONG WITH DALLIN H OAKS ARE REALLY
THE AFOREWARNED CHARACTERS FROM THE BIBLE DOING BUSINESS AS “THE FALSE PROPHET AND
ANTI-CHRST” WHO WERE PROPHESIED TO OPERATE IN COLLUSION AS BEING MEMBERS OF BOTH THE
RELIGIOUS AND THE POLITICAL SIDE OF OFFICE IN THE LATTER-DAYS.

MY FIRST AMENDMENT RIGHTS TO REDRESS GOVERNMENT ARE LIMITED TO ANY EXPOSURE I CAN
GET OFF INTO LORD GOOGLE VIA THE WEBSITE OF THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF UTAH SINCE THE CLERKS IN BOTH DENVER AND WASHINGTON HAVE BEEN ORDERED TO
“KEEP THIS MATTER OFF THE RECORD” EVEN IF THE CHIEF JUDGES AND THE COUNTLESS OTHERS WHO
ARE FULLY AWARE OF THIS MATTER AND YET ALLOW THIS CANCER TO GROW AND REFUSE TO EVEN
ASK THE DEFENDANTS “WHERE IN THE HELL DID YOU PUT THE $200 MILLION OF MAX AND JOYCE
ELIASON” ESPECIALLY SINCE THE CLIENT YOU WERE PAID TO PROTECT IS STILL ALIVE WHILE YOU AND
HIS SON-IN-LAW ARE REFUSING TO ACCOUNT FOR ONE DIME?

FUBAR ON THIS DISPLAY OF MAFIACRACY AND THUCKERY AT ITS VERY SLEAZIEST MOMENT IN THE
WALLS OF SHAME OF HISTORY WHOSE EYES ARE WATCHING AS THIS LEGION OF EVIL “DEFINED” IS
SPITTING UPON THE MILLIONS OF LIVES THIS COUNTRY AND ITS CITIZENS HAVE SACRIFICED IN
BATTLES FOUGHT FOR FREEDOM AND WHO ARE ALSO “SHITTING” ON THE LIVES OF OUR FOUNDING
FATHERS AFTER PLEDGING THEIR ALLEGIANCE TO THE SUPPORTING COMMUNISTIC SATANIC CULTS
DOING BUSINESS AS THE NEW WORLD ORDER AND LED BY THE NEW WORLD WHORES OF THE
ILLUMINATI. I AM BEING ASSAULTED RELENTLESSLY BY THE DEFENDANTS WHO HAVE SOUGHT TO
END MY LIFE SINCE THE DAY MY MOTHER DIED ON MAY 21ST, 2018 AND AT WHICH TIME EVERY
SINGLE CIVIL RIGHT GURANTEED BY THE US CONSTITUTION AND BILL OF RIGHTS HAS BEEN RIPPED
FROM MY LIFE WITHOUT MY CONSENT AND WHICH WILL STAND AS A PILLAR OF WHAT AWAITS ALL
THOSE WHO FALL INTO LINE UNDER THIS CIRCUS OF CORRUPTION WHICH CONTINUES TO GROW.

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RES IPSA LOQUITUR “ME” BITCHES OF THE FIRST PRESIDENCY AND THE QUORUM OF THE
TWELVE APOSTLES OF THE DEFILED CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS AND
ITS BETRAYED INNOCENT FAITHFUL MEMBERS YOU WERE CALLED TO SERVE AS OPPOSED TO
“SERVE YOURSELF TO THEIR TITHES AND OFFERINGS” (CAN ANYONE QUOTE MALACHI
CONCERNING “WOULD A MAN ROB GOD” AND ITS IMPLIED MEANING HEREIN…ANYONE,
ANYONE..)
YOU ARE NOTHING BUT A LEGION OF DISHONORABLE “THUCKS” PRETENDING TO BE
RELIGIOUS AND POLITICAL LEADERS OF THE UNITED STATES AND WHOSE ACTIONS HEREIN
DISPLAY THE UNDENIABLE BELIEF THAT THIS GROUP OF HYPOCRITICAL SATANIC SLUTS FEEL
ENTITLED TO RULE AS IF BOTH GOD AND COUNTRY APPROVED OF THEIR SELF-APPOINTED
RIGHTS AND SELF-DECLARED RIGHTEOUSNESS EVEN IF THEY HAVE NO VOTES FROM THE
DEMOCRATIC REPUBLIC WHICH STILL STANDS ALBEIT BY THE THREAD OF THE EXECUTIVE
BRANCH WHICH THEY STILL HAVE NOT CONTROLLED DUE TO THE PRESENCE OF THE
COMMANDER IN CHIEF SPOKEN OF WITHIN THE CONTEXT OF THE “TRUMP PROPHESY” WHO
WAS VOTED INTO OFFICE “BY THE PEOPLE, FOR THE PEOPLE, AND OF THE PEOPLE”.
BEHOLD THE NEW WORLD ORDER FADDER FOR THE FIRES OF HELL TO CONSUME LEAVING
SOME STUBBLE WHERE ONCE THERE LIVED A MIGHTY ILLUMINATI BLOOD LINE WHETHER IT
BE ROCKEFELLAR OR ROMNEY FOR REPLACING GOD WITH FRAUD AND A PROPHET DEEMED
WORTHY BY THE AMOUNT OF HIS PROFIT HE STEALS EVEN IF IT IS NOT “RIGHT” AS PER THE
“CTR” RING THE CHILDREN SPORT; FOR IN THIS TWISTED SISTER WORLD FROM HELL; AS
LONG AS THE BRIBE IS HIGH ENOUGH FOR PRESIDENT “WRIGHT” OF KMC LAW; THEN THE
“GOD FRAUDER” HIMSELF SIR DALLIN THE “BOSS OF THIS SATANIC MAFIA FAMILY” AND
ACCEPTS ANY CRACK HOE JOB INCLUDING MURDER OR SATANIC PEDOPHILLIA RELATED
SACRIFICE SINCE HE HOLD HIMSELF OUT TO BE ABOVE “GOD THE FATHER” AND EVERYONE
ON THIS PLANET HE FEELS SHOULD BOW ON ONE KNEE TO HIM.
I HEREBY REGRET TO INFORM THE “WOULD BE LEADERS” OF THIS NEW WORLD ORDER THAT
UNFORTUNATELY FOR THEM; THEY STILL ARE CITIZENS OF ONE NATION UNDER GOD AND
THEY ARE THEREFORE BEING EXPOSED AS VIOLATING BOTH THE LAWS OF THE GOD THEY
SERVE AND THE REPUBLIC THEY SWORE WITH A HAND ON THE HOLY BIBLE TO PROTECT AND
EVERYTHING FOR WHICH IT STANDS INCLUDING LIBERTY AND JUSTICE FOR ALL.
MY DEAR HYPOCRITICAL LORDS AND TYRANTS PRETENDING TO BE THE FIRST PRESIDENCY
AND THE QUORUM OF TWELVE APOSTLES; YOU ARE HELD TO THE LAWS OF GOD WHICH ARE
THE SAME YESTERDAY, TODAY, AND FOREVER AND THAT YOUR TITLES OF PROPHETS, SEERS,
REVELATORS, OR PEDOPHILE MAN USING HIS POST OF “STAKE PRESIDENT SLUT” OR “BUTT
BOY BISHOP” IS NOT IMMUNE TO THE LAWS OF THE LAND YOU WERE TO UPHOLD AND
ABIDE BY THE LAWS THEREIN AND THAT 50 FELONY COUNTS ARE PUNISHABLE BY 1,000
YEARS IN PRISON AND NOT JUST A SLAP ON YOUR HAND WITH A YEAR OF PROBATION FOR
COMMITTING NOTHING WORSE THAN A “SIN” (WHICH IS HAILED AS A MONUMENTAL
VICTORY AT NIGHT WITHIN THE CELESTIAL KINGDOM ROOM SACRIFICIAL ORDINANCES).
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IT IS TOO LATE FOR YOUR LEVEL OF SINISTER SHIT GONE SATANIC FOR YOU TO “CHOOSE YOU
THIS DAY WHOM YE SHALL SERVE” FOR IT IS REVEALED ON PAGE ONE OF THIS COMPLAINT
THAT YOU DO NOT SERVE “ME” NOR ANYONE OF THE “LEAST OF THESE MY BRETHERN” FOR
IF YOU DID; YOU WOULD ALSO BE SERVING “ME”; BUT INSTEAD OF SHOWING ONE SINGLE
ACT OF “GOOD FAITH”; YE HAVE CHOSEN TO EXTERMINATE THE “LEAST OF THESE” WHO ARE
NOW ENTITLED TO INHERIT THE KINGDOM OF GOD WHICH IS AT HAND ALONG WITH THE
EARTH AND THE MOST HOLY OF ALL GIFTS PROMISED BY OUR LORD AND SAVIOR JESUS
CHRIST; THE RIGHT TO SEE GOD WHILE THOSE UNWORTHY PRICKS SHALL FRY IN THEIR
SLEAZE FOR BEING DISCOVERED TO HAVE THE “MARK OF THE BEAST” OR SOME UNHOLY
VACCINATION SCAR PROVING THEY KNEW JUST WHAT “COVID – 19” WAS INTENDED TO DO
TO THE INNOCENT VICTIMS WHO WERE CONSIDERED NOT TO BE INCLUDED IN THE “WORLD
ELITE” NOR WERE CHOSEN BY THE GOD FRAUDER HIMSELF TO BE ENTITLED TO BENEFIT
FROM THE TECHNOLOGICAL AND MEDICAL ADVANCEMENTS THESE BAD ASS LITTLE SLUTS
FROM HELL TOOK CONTROL OF THROUGH THEIR SATANIC ACCEPTANCE OF LUCIFERIANISM
AND THE ASSOCIATED “SELLING THEIR SOULS” TO SATAN WHO IS DESCRIBED AS BEING THE
DEFINITION OF “LIAR” EVER KNOWN BY MANKIND.
THAT AS FOR “ME” AND MY HOUSES OF RIGHTEOUS HUMAN BEINGS THAT ARE FOUND ON
THE RIGHT SIDE OF GOD; HAVE DONE SO ACCORDING TO THE RIGHTEUSNESS FOUND WITHIN
THEIR HEARTS AND NOT BECAUSE THEY WERE CAUGHT WITH THEIR GARMENTS DOWN
AROUND THEIR KNEES AND THEIR “BUSINESS” EXPOSED FOR THE RIGHTEOUS TO LAUGH
UNCONTROLLABLY AT FOR THE NEXT 1,000 YEARS.
SHOULD YOU DECIDE TO PRAY ABOUT AND RE-DISCOVER FROM YOUR PRISON CELLS OF
“JESUS CHRIST HIMSELF” FOLLOWED BY INDISCRIBABLE HELL FOR BEING A PHUKCKING
DIVISION OF HELL’S ANGELS SPORTING TEMPLE RECOMMENDS AND GARMENT REEKING OF
CORRUPTION AND SOULS STAINED WITH THE BLOOD OF EVERY RIGHTEOUS HUMAN BEING
YOU DECIEVED INTO BELIEVING THAT YOU WERE ABOUT “THE LORD’S BUSINESS” WHEN IN
FACT YOU WERE IN THE CLOSET COMMITTING INCESTUAL “MOKEY ASS BUSINESS” YOU NOW
SPORT IN SHAME.
AND THERE IS NOBODY WITHIN THEIR SATANIC UNDERWORLD WITH ENOUGH POWER TO
CHANGE THE FACT THAT THE DEFENDANTS NOW SIT IN CHECKMATE WITH “HISTORY’S EYES
ON THEM” AND THAT NO MATTER WHAT HAPPENS HEREAFTER VIA “COVID 19” OR UNITED
NATIONS PRODUCED “UFO HOLLOGRAMS” AND THE FEAR MEANT TO INCITE WITHIN
HUMANTIY TO FORCE THE “CHILDREN OF GOD” INTO CONCENTRATION CAMPS OF TERROR
ONCE AND FOR ALL…
ANYONE FOUND SPORTING “THE MARK OF THE BEAST” VIA VACCINATION OR MICROCHIP
UTILIZED FOR RECOGNITION OF BELONGING TO THE SATANIC UNDERWORLD CULTS SHALL
SPEAK HEREAFTER AS “RES IPSA LOQUITUR” AND HOLDING THE PROUD OWNER OF A TICKET
TO 1,000 YEARS IN JAIL AND/OR DEATH AS PROVIDED BY THE US CONSTITUTION
CONCERNING CAPTIAL TREASON AND CAPTIAL MURDER UNDER THE LAWS OF AMERICA
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AGENDA FOR THE FIRST JUDGEMENT “BAR EXAM” REVIEW SEMINAR
FOR LAWYERS AND TYRANTS AND PROPHETS (OH MY…) FROM HELL:
OPENING COMMENTS FROM “JESUS CHRIST HIMSELF”
   I.    “HE THAT LIVES BY THE SWORD; SHALL DIE BY THE SWORD”
  II.    “CHOOSE YE THIS DAY WHOM YE SHALL SERVE; AS FOR ME AND MY HOUSE…”
 III.    “YOU CANNOT SERVE TWO MASTERS; YOU EITHER SERVE GOD OR MAMMON”
 IV.     “WHOA UNTO THOSE THAT CALL GOOD BAD AND BAD GOOD…”
  V.     “THOSE THAT WOULD BE FIRST SHALL BE LAST…AND THOSE THAT WOULD BE LAST SHALL BE
         FIRST”
 VI.     “WOULD A MAN ROB GOD? …AND YE SHALL SAY HOW HAVE WE ROBBED THEE? BY TITHES
         AND OFFERINGS…”
VII.     “LET NO MAN DECIEVE YOU; THE GREAT APOSTACY SHALL NOT ARRIVE UNTIL AFTER THE
         EXPOSURE OF THE MAN OF LAWLESSNESS; THE SON OF DESTRUCTION”
VIII.    “BLESSED ARE THE MEEK AND PURE IN HEART FOR THEY SHALL SEE GOD AND INHERIT THE
         EARTH”
 IX.     “DO NOT SEEK TO STORE UP RICHES ON EARTH; SEEK YE FIRST THE KINGDOM OF GOD AND
         ALL OF THE RICHES OF HEAVEN SHALL BE BESTOYED UPON THEE…”
  X.     “AND IN THOSE DAYS SHALL MEN SEEK DEATH, AND SHALL NOT FIND IT; AND SHALL DESIRE
         TO DIE, AND DEATH SHALL FLEE FROM THEM”
IT’S ALL FUN AND GAMES UNTIL…
A. ONE OF YOUR VICTIMS SURVIVES THE PRE-MEDIATED ESTATE PLANNING MURDER YOU
   COMMITTED AGAINST HIS FAMILY AND NOW HOLDS YOU IN A CHECKMATE WHICH YOU CAN
   NEVER WIN LEGALLY SO YOU ARE FORCED TO JUST NOT ANSWER WHILE PRAYING TO A GOD YOU
   HAVE BETRAYED THAT THE COVID-19 VIRUS KILLS OFF YOUR VICTIMS SO YOU NEVER HAVE TO
   ANSWER ONE YES OR NO QUESTION.

B. YOU WERE ONCE AN HONORABLE CHIEF JUDGE OF THE UNITED STATES COURT UNTIL YOU
   REALIZE THAT YOU ARE UNABLE TO OPEN THE INVESTIGATION WITH THE ASSOICATED RICO ACT
   OF 1970 FILING MADE HEREIN AND WHICH YOU WERE REQUIRED TO DO BY LAW SINCE THIS WILL
   EXPOSE YOU AS A FELON WORTHY OF 1,000 YEARS OF JAIL TIME AND YOU WOULD JOIN THE
   LEADERS OF THE LDS CHURCH THEREWITH WHO YOU ARE NIOW COMMITTING CAPITAL TREASON
   PUNISHIABLE BY DEATH FOR BETRAYING THE CONSTITUTION AND EVERY CIVIL RIGHT YOU SWORE
   TO UPHOLD AND PROTECT WHILE PROMOTING THE UNDERMINING OF THE UNITED STATES YOU
   ALSO BETRAY ‘LIKE A BOSS”.

C. DURING THE LITIGATION AGAINST YOUR OWN FALSE PROPHET AND ANTI-CHRIST DALLIN H OAKS
   AND MITT THE SHITT ROMNEY; IT IS REVEALED VIA THE MEMOIRS OF JOSEPH SPENCER THAT YOU
   BELONG TO THE GROUP OF SLUTS THAT INTENTIONALLY LAUNCHED COVID-19 AND THE ENTIRE
   GROUP OF MEMBERS ARE CONSIDERED GUILTY OF CAPITAL TREASON AND MURDER PUNISHABLE
   BY DEATH AND THE PLAINTIFF/VICTIM AN AGGRESSIVELY MOTIVATED PROPONENT OF DOING
   UNTO OTHERS WHAT THEY HAVE DONE UNTO THE WORLD…OUCH!


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THE DEFENDANTS HEREIN ARE KNOWINGLY OPERATING UNDER THE ASSUMPTION THAT THEY
ANSWER TO THEIR “NEW WORLD ORDER” LEADERSHIP COMMITTEE WHICH INCLUDES THE MAN
WHORE AND SON OF PERDITION HIMSELF DALLIN H OAKS AND SLUTT MAN “MITT THE SHITT”
ROMNEY WHO ARE RULING A SATANIC SWORM OF ILLUMINATED AND DECIEVED SOULS WHO THEY
HAVE MADE BELIEVE THERE IS NO GOD, AND THEY CAN DO AS THEY PLEASE UNDER THEIR REGIME AS
LONG AS IT FEELS GOOD TO THEM AND BENEFITS THE WELL BEING OF THE MANY?

WHILE IT IS OBVIOUSLY THE DESIGN OF SAID WHORES AND BROTHELS TO BRING ABOUT A NEW
WORLD ORDER WHICH WHALL ERASE THE GOD GIVEN RIGHTS OF HUMANITY TO LIVE FREE FROM THE
TYRANNY AND OPPRESSION THAT HAS PLAGUED THE WORLD SINCE THE BEGINNING OF DAYS; THE
GROUP OF BLACK WHOLE SLUDGE SOULS WITHIN THIS DEMONSTRATION OF JUST WHAT DEFINES EVIL
FORGOT TO NOT “JUMP THE GUN” AND PRETEND THAT THEIR CLIENT “ME” IS DEAD NOR EVER
EXISTED JUST AS THE CRIMINAL CONSPIRACY BEHIND THE UNDERMINING OF THE UNITED STATES OF
AMERICA AND THE ASSOCIATED NATION FORMED AS AN INDIVISIBLE REPUBLIC UNDER GOD NOW
INSISTS THAT GOD IS ALSO DEAD NOR EVER EXISTED…

DALLIN H OAKS SPEWS HATRED FROM THE PULPIT OF THE CHURCH HE DEFILES AND DEMANDS EACH
AND EVERYONE WHO HAS MADE COVENANTS TO A GOD HE HAS CREATED WITHIN HIS SATANIC
“CELESTIAL KINGDOM OF LIES” HE HAS USED TO DECIEVE TRUE AND FAITHFUL FOLLOWERS OF JESUS
CHRIST TO FOLLOW BUT ARE NOTHING MORE THAN SATANIC RITUALS REQUIRING THE INDIVIDUALS
TO KNOW WORDS AND SECRET HANDSHAKES IF THEY WERE TO ENTER THE KINGDOM OF GOD? WTF?
WHAT GOD WOULD HOLD ANYONE ACCOUNTABLE FOR SUCH KNOWLEDGE WHEN ALL THAT WAS
SPOKEN OF BY HIS SON AND SAVIOUR OF THE WORLD STATED TO DO WAS FOUND WITHIN THE
SERMON ON THE MOUNT WHICH THE SATANIC SLUTS HAVE TURNED INTO A COMPLICATED FORMULA
WHICH ONLY THE ILLUMINATED ONES HAVE DISCOERED…I CALL FUBAR BITCHES.

SILLY DEFENDANTS…SATANIC CULTS ARE LIARS AND SLEAZE ARTISTS AND EVEN THE LUCIFERIAN AND
REPTILLIAN GOD THEY FOLLOW KNOWS EXACTLY HOW THIS STORY ENDS AND ANY PROMISES THAT
THE END OF THE WORLD WOULD BE SOMETHING OTHER THAN FORETOLD IN THE “BIBLE ALMANAC”;
IS LIKE PROMISING THAT THIS TIME YOU WATCH THE MOVIE “THE TITNANIC”; IT MISSES THE
ICEBEERG AND KATE WINSLET AND LEONARDO DICAPRIO LIVE HAPPILY EVER AFTER AND THE
INDIVIDUAL FOLLOWERS WERE DECEIVED INTO BELIEVING THE “TRUE LIES WHICH COVER THE PURE
TRUTH”.

THE TRUTH ON THE TABLE HEREIN IS THAT THE CORPORATION OF THE PRESIDENT OF THE CHURCH OF
JESUS CHRIST OF LATTER-DAY SAINTS IS THE MOST CORRUPT AND EVIL ENTITY ON THE FACE OF
PLANET EARTH AND THE TRUSTEE IS NONE OTHER THAN DALLIN H OAKS WHOSE QUALIFICATIONS HE
HAS ON HIS RESUME PERMIT HIM TO BE A “SHOE IN” FOR THE TITLE OF FALSE PROPHET AND SON OF
PERDITION.

AS SOON AS THE TRUTH OF THIS MATTER FINDS A UNITED STATES DISTRICT COURT AND A UNITED
STATES ATTORNEY GENERAL WHO IS NOT ON DEATH ROW FOR TREASON AND CAPITAL MURDER FOR
HIS ASSOCIATED INVOLVMENT HEREIN; THE ENTIRE NET WORTH OF SAID WICKED ASS ORGANIZATION
WHO SPORTS THEIR VERY OWN QUORUM OF THE MAJESTIC TWELVE APOSTLES FROM HELL AND ITS
SATANIC SOLDIERS DOING BUSINESS AS LAWYERS OF JESUS CHRIST HIMSELF FROM WITHIN THE
BROTHEL DOING BUSINESS AS THE TEMPLE OF KIRTON MCCONKIE ARE ALL BANKRUPT AND EVERY
MEMBER THEREIN LOCKED AWAY FOR 1,000 YEARS FOR THE 50 FELONIES X 20 YEARS EACH.

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Dear President Trump,

I implore you to review this matter immediately and take whatever steps are
necessary to expose and prosecute the extensive web of corruption within the
United States Department of Justice which WILL lead to the undermining of the
Untied States Constitution if it continues to go unchecked by the Executive and
Legislative Branches of Government via its powers of “Checks and Balances”.


The matter being prepared for presentation to the United States Supreme Court
will require additional days of preparation so as to explain the involvement of each
one of the Defendants in detail but suffice it to say that I swear under oath and
under the laws of perjury of the United States that I do not need to exaggerate or lie
about one fact within this matter and I have over 3,000 pages of supporting
documents to substantiate every allegation herein.


This matter began with the embezzlement of my parents estates valued at over
$200 Million which has been revealed to be done under the designs of former United
States Supreme Court Nominee Dallin H Oaks who also worked under the Bush
Administration and who later became a member of the Utah Supreme Court before
being “called to serve” as an Apostle of the Church of Jesus Christ of Latter Day
Saints.


He is the current Trustee of the Corporation of the President of the Church of Jesus
Christ of Latter Day Saints who is the next “Prophet to Be” of the LDS Church and
whose actions herein will be shown to be nothing short of Treason and that he has
recruited an extensive web of members of every level of government which now
includes the Chief Judges Robert J Shelby and Phillip A Brimmer of the United
States District Courts for the Districts of Utah and Colorado Respectively with both
of these Judges and Magistrate Judges Dustin B Pead of Utah and S Kato Crews
desperately trying to conceal this matter as you will discover upon review.


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I would “strongly” encourage you to apprehend Dallin H Oaks who is also the
President of the Quorum of the Twelve Apostles of the Church of Jesus Christ of
Latter-Day Saints who is the High Managerial Agent presiding over the Law Offices
of Kirton McConkie PC which has been dubbed “The Lawyers of Jesus Christ of
Latter-Day Saints” and whose primary line of business apparently consists of
“Estate Planning Murder” on the unsuspecting victims they were paid to protect
such as my parents did on June 20th, 2013.


The reason I recommend you begin with this “Unholy False Prophet” is not just
because he is concealing over 50 Felony Crimes associated with the embezzlement
of the estates discussed within the matter; he is concealing his “hidden agenda” of
utilizing the hundreds of billions of missing tithes and offerings which he has been
using in conjunction with his own Law Office of Kirkland Ellis in Chicago wherein
many well-known names associated with “The Illuminati” and Senator Mitt
Romney are tied together and where the extensive net worth of the LDS Church is
ironically being devoted for usage within the context of “Satanic Cults and Secret
Societies” which have plagued the world since the beginning of time.


The Defendants herein do not have any possible explanation for any one of the
countless crimes uncovered within this landmark battle all of which fall under the
jurisdiction of the United States Supreme Court and should be prosecuted
immediately by the United States Attorney General William Barr provided he can
be cleared of being one who may be on the extensive list of “Bribed with Tithes”
since it shall be proven herein that members of his own office are attempting to
conceal this matter as well; and who have tried to “silence it” from the Office of
Victims’ Rights as shall be shown from a letter from the Ombudsman of The United
States.




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I ASSURE YOU THAT THE “LITTLE RED EYE” AT THE TOP OF THE
ILLUMINATE PYRAMID IS THE DEFENDANT CORPORATION OF THE
CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS (“COP”) WHOSE FREE
CASH FLOW IS OVER $1 BILLION PER MONTH OF WHICH ONLY AN
ANNUAL AMOUNT IS BEING RETURNED TO SOCIETY OF APPROXIMATELY
$50 MILLION OR LESS THAN 1%.


You have every justification for aggressively prosecuting the “COP” under the felony
Racketeering and Organized Crime provisions of the United States Constitution
and this will be the key to exposing what you know as “Deep State” and “New World
Order” which is nothing more than a group of “World Elite” who are committing any
crime necessary provided their actions are promoting the agenda of the Traitors
who would rob the world of the Freedoms which “We The People” hold to be sacred
and provided by God; while these “underground self-righteous thugs” are
apparently “Pledging Allegiance” to the communistic regime for which they stand
and under some sinister deity Fraud who has nothing in common with God or
Christianity.


PLEASE HAVE YOUR LEGAL TEAM ACQUIRE ALL FILINGS AND RESPONSES
ASSOCIATED WITHIN THE MATTERS LISTED ON THE SECOND PAGE UNDER
THE UTAH AND COLORADO COURTS AND THE ASSOCIATED HUNDREDS OF
PAGES OF EVIDENCE WHICH WAS FILED WITH THE STATE OF UTAH THIRD
DISTRICT COURT UNDER JUDGE ADAM MOW (DEFENDANT).


EACH OF THESE FILINGS WERE DONE UNDER URGENT CIRCUMSTANCES
AND EACH WAS DONE WITH THE BELIEF THAT THIS MATTER WAS ONLY
ABOUT THE MISSING ESTATES OF MY PARENTS MAX AND JOYCE ELIASON
WHICH HAS SINCE EXPANDED TO THE CONSIDERABLE LIST OF CO-
CONSPIRATORS WITHIN BOTH CHURCH AND STATE WHICH APPARENTLY
HAS NO DELINIATION WITHIN THE “CHURCH STATE OF UTAH” AND NOW
SHOWS SIGNS OF THIS SAME PROBLEM EXISTING WITHIN COLORADO.


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WHILE THE RICO VIOLATIONS AND THE ASSOCIATED EMBEZZLEMENT OF
THE $200 MILLION IN OIL PROPERTIES ETC ARE STILL CRITICAL ISSUES;


IT IS FAR MORE IMPORTANT THAT YOU GO AFTER THE “HEAD OF THE
SERPENT” OF THIS ORGANIZATION SINCE ITS AGENDA IS A TWO CLASS
SYSTEM OF HUMANITY WHICH IS TO BE UNDERTAKEN IN CONJUNCTION
WITH MASS EXTINCTIONS OF HUMANITY AND THE DESTRUCTION OF THE
WORLD ECONOMY SUCH IS BEING IRONICALLY DONE ON A WORLD WIDE
BASIS UNDER THE CURRENT PANDEMIC KNOWN AS COVID-19.


UT CASE No. 1:20-CV-00024-RJS-DBP
Chief Judge: ROBERT J SHELBY
Magistrate Judge: DUSTIN B PEAD

CO CASE No. 1:20-CV-00959-PAB-SKC
Chief Judge: PHILLIP A BRIMMER
Magistrate Judge: S KATO CREWS


SHOULD YOU HAVE ANY DOUBTS CONCERNING THE UNDERLYING
ALLEGATIONS WHICH ARE NOTHING SHORT OF THE CONTINUANCE OF
THE AMERICAN REVOLUTION; PLEASE FEEL FREE TO HOLD A
“CONFERENCE CALL” WITH CHIEF JUDGES ROBERT SHELBY AND PHILLIP
A BRIMMER AND INCLUDE JUDGE JILL H PARRISH WHO RECUSED
HERSELF FROM THIS MATTER SO AS TO NOT BE THE “BLACK PLAGUE”
THAT TAKES DOWN HER OWN RELIGIOUS LEADERS DESPITE HER
COMPLETE KNOWLEDGE OF THE ASSOCIATED FACTS AND GUILT
HEREIN.




THE FOLLOWING PAGES ARE BEING INCLUDED AS SUPLEMENTAL
INFORMATION WHICH IS BEING COMPILED FOR THE FORMAL PRESENTATION
TO BE SUBMITTED TO THE UNITED STATES SUPREME COURT AND ITS
ASSOCIATED JURISDICTION OVER MATTERS INVOLVING THE UNITED STATES
GOVERNMENT AND CRIMINAL ALLEGATIONS AGAINST HIGH RANKING
MEMBERS OF THE DEPARTMENT OF JUSTICE.


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FACTS OF THE CASE

The evidence herein will expose the most corrupt web of “Mafia Style” criminals in
modern history and expose the reality of “Deep State” and “New World Order” as
nothing more than a modern name for “Racketeering and Organized Crime” using
the guise of Religious and Political Leaders who have infiltrated every government
organization.


These allegations now include both Chief Judge Robert S Shelby and Chief Judge
Phillip A Brimmer of the United States District Courts for the Districts of Utah and
Colorado respectively who both have this matter in front of them and refuse to even
render a decision or take one action on behalf of the Victims of the most heinous
violations in history considered as crimes committed under the RICO Act of 1970
(See UTAH CASE No. 1:20-CV-00024-RJS-DBP Chief Judge Robert J Shelby and
Magistrate Dustin B Pead) and (COLORADO CASE No. 1:20-CV-00959-PAB-SKC
Chief Judge Phillip A Brimmer and Magistrate Judge: S KATO CREWS)


The extensive list of State, Political, and Religious Leaders included herein are
knowingly concealing the complete embezzlement of the Estates of Max and Joyce
Eliason and are protecting the “Head of the Serpent” President Dallin H Oaks of the
Corporation of The President of The Church of Jesus Christ of Latter-Day Saints
under the knowledge of each of the Corporate Officer and Leaders of the LDS
Church who utilized it acting Agent Kirton McConkie Law Offices to deceive their
Victims and rob the Eliason family of over $200 Million in assets which includes
extensive family holdings of oil and gas properties within the Uintah Basin and in
states of Utah, Wyoming, Colorado and Texas.


The Plaintiff filed a related complaint in March of 2019 when he realized that the
Law Firm of “Jesus Christ Himself” admitted to illegally representing his sister and
brother-in-law; but whose Board of Directors and former United States Supreme
Court Nominee Dallin H Oaks said to “Quit Bothering the Board of Directors”.
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BASIS FOR JURISDICTION
Jurisdiction under the United States Supreme Court is considered correct for the
Original Complaint due to Article III, Section 2 of the Constitution:


ARTICLE III, SECTION 2; OF THE UNITED STATES CONSTITUTION
Section 2 delineates federal judicial power, and brings that power into execution by
conferring original jurisdiction and also appellate jurisdiction upon the Supreme
Court. The judicial Power shall extend to all Cases, in Law and Equity, arising
under this Constitution, the Laws of the United States, and Treaties made, or
which shall be made, under their Authority and to all Cases affecting other public
Ministers and wherein there are Controversies to which the United States
shall be a Party. In all Cases affecting public Ministers and Consuls, and
those in which a State shall be Party, the supreme Court shall have
original Jurisdiction.


The matter herein is a filing made under The RICO Act of 1970 and is being made
against an extensive list of Public Ministers including various Chief and Magistrate
Judges within the United States Department of Justice and the State of Utah and
many members of the Judicial Branch therewith. It also implicates the
participation of former Utah Supreme Court Judge Dallin H Oaks as Trustee for the
Corporation of the President of the Church of Jesus Christ of Latter-Day Saints and
the United States Senator Mitt Romney for the State of Utah.
ASSOCIATED COMPLAINTS BEING ADJOINED TO THIS ORIGINAL FILING
UNDER THE JURISDICTION OF THE UNITED STATES SUPREME COURT


UT CASE No. 1:20-CV-00024-RJS-DBP (NO DECISION RENDERED)
Chief Judge: ROBERT J SHELBY; Magistrate Judge: DUSTIN B PEAD


CO CASE No. 1:20-CV-00959-PAB-SKC (NO DECISION RENDERED)
Chief Judge: PHILLIP A BRIMMER; Magistrate Judge: S KATO CREWS

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THE AMOUNT IN CONTROVERSY
18 U.S. Code § 1964 Civil remedies under RICO Act Violations
Any person injured in his business or property by reason of a violation of section
1962 of this chapter may sue therefor in any appropriate United States district
court and shall recover threefold the damages he sustains and the cost of the suit,
including a reasonable attorney’s fees.


The amount in controversy initially began with the complete embezzlement of The
Estates of Max and Joyce Eliason with an estimated value exceeding $200,000,000
(Two Hundred Million); however as described within the damages herein; this
matter has since evolved into the exposure of an extensive web of corruption which
is being implicated herein with an extensive list of high ranking members of both
“Church and State” and doing so under the rules of Apparent Authority, Respondeat
Superior, Vicarious Liability, Corporate Officer Liability, and damages incurred on
a Joint and Several Basis including countless members of the offenses herein which
qualify under the Laws of Racketeering and Organized Crime.


The amount of damages herein will prove to be the largest amount in history due to
the nature of the Mafia Style Corruption which has permeated every branch of
Church and State and the associated intentional Aggravated Conspiracy to Commit
Abuse and Exploitation of Vulnerable Adults and Children with over 50 related
Felony Crimes which are classified under Corruption and Racketeering and include
the most horrific display of Abuse of Power of Office heretofore witnessed by
mankind. The amount of damages will depend on the number of Co-Conspirators
exposed to be included herein; however, it should be noted that under the laws
explained above, every participant herein will be assessed the Treble Damages with
the Corporation of The Church of Jesus Christ of Latter-Day Saints and The United
States of America bound by the laws of Respondeat Superior.




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In order to put this amount of damages into perspective for the reader of this
matter; based solely on the amount of $200,000,000 (two hundred million) that has
been embezzled from the estates of Max and Joyce Eliason; each participant herein
will be assessed a minimum penalty of $600,000,000 before any other penalties
associated with the seven years of intentional infliction of emotional and financial
abuse on the victims who paid the Defendants to Protect both them and represent
their beneficiaries Impartially.


Every amount thereafter which is not paid by the individual Defendant will result
in the personal financial demise of every person who has conspired herein in
conjunction with anticipated life time prison sentences (50 Felonies committed
under RICO at 20 years each result in the Defendants receiving a prison term of
1,000 years or a “millennium” in Biblical Terms which is to be awarded to “Team
Evil”. Thus, under the provisions of Civil Damages of RICO Violations awarded on
a Treble Basis and assuming all other provisions described herein, the amount owed
to the victims herein by the Defendants and “guaranteed payments” by the
Corporation of The President of the Church of Jesus Christ of Latter Day Saints
and the United States Department of Justice would follow the general formula
shown as follows:


 TOTAL NUMBER           DAMAGES FOR            TOTAL TREBLE        RESPONDEAT
 CONSPIRATORS          ESTATES ONLY            (DAMAGES X 3)      SUPERIOR LIAB.
         100            $ 200 MILLION          $ 600 MILLION        $ 60 BILLION
         250            $ 200 MILLION          $ 600 MILLION       $ 150 BILLION
         500            $ 200 MILLION          $ 600 MILLION       $ 300 BILLION


It should be noted that including the Equity Partners of Kirkland Ellis and the
growing list of officials from Government; the number is approaching 750 or $450
Billion which does not include any emotional damages or charges for the countless
number of horrific deeds such as prohibiting a son from seeing his own father.

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The initial facts of this matter began on June 20th, 2013 when Kirton McConkie
Law Offices used Fraudulent Misrepresentation in collusion with the Eliason's son-
in-law and CPA/Estate Planner (Bryan Stephens) to deceive Max and Joyce Eliason
into believing their Estates were being entrusted to the same LDS Church Leaders
that had accepted countless millions of dollars in tithes and offerings since the
couple was married in 1959.


Upon the death of Joyce S Eliason on May 21st, 2018; Kirton McConkie illegally
named the wife of Bryan Stephens and plaintiff’s own sister to the role of "Sole
Trustee" which empowered the Defendants to embezzle all of the assets contained
within the Estates of Max and Joyce Eliason which included over $100 Million in
Oil Properties throughout Utah, Colorado, Texas, and Wyoming in addition to
approximately 8,000 acres of property which was the Stillman Family ranch (Joyce
Stillman Eliason) which has also been illegally removed from the Estates.


Kirton McConkie and the LDS Church Leaders are knowingly concealing this
horrific assault on an innocent family whose Pioneer ancestors settled the Salt Lake
Valley and they continue to do so fearlessly under the apparent reasoning that
"they own the Utah and United States Court for the District of Utah along with
John Huber as the US District Attorney whose office refused to accept this matter
nor do the Defendants Shelby and Pead have any intentions of making one gesture
to protect the Civil Rights of the Victims and recently Judges Shelby and Pead
approved a requested extension of time for the "Abusers Kirton McConkie" with the
implications that this would be dismissed on technicalities.


Upon the receipt of this Complaint within the United States Court for The District
of Utah; was the initial appointment of US District Court Judge Jill H Parrish who
familiarized herself with the matter and obviously understood the deep rooted
"Scandal" that would bring down her own LDS Church with no possible way that
the Defendants have any words to prove their innocence as this matter is considered

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to be "THE DEFINITION OF RES IPSA LOQUITUR"; wherein Kirton McConkie
cannot explain on Page one of the complaint as to how it is possible for both of the
Estates to be completely "Empty" and them representing Lisa Eliason Stephens as
the "Sole Trustee" of the Joyce S Eliason Trust dated October 28th, 2015 while her
father and the real client of Kirton McConkie still being alive as the "Settlor and
Co-Trustee". The Defendants sit in Check-Mate with no questions needed to be ask
just by the way the pieces lie on the Chess Board with Max D Eliason showing as
Plaintiff and Settlor and Co-Trustee and to whom the Law Offices of Kirton
McConkie and the associated Principal of this LDS Church Agent owes Max and
Joyce Eliason and their beneficiaries a Fiduciary Duty of Loyalty, Care,
Impartiality, Full Disclosure, and the duties to expose any and all "Conflicts of
Interest;” none of which rules and laws have been adhered to in seven years.


The US District Court Honorable Judge Jill H Parrish correctly filed a Motion of
"Recusal" thereby removing herself from the matter; which is exactly what Chief
Judge Robert J Shelby and Magistrate Judge Dustin B Pead should have done
rather than accepting the responsibility and thereby claiming they would treat the
matter with Impartiality and not become the "paid assassins" which Plaintiff/Victim
has already experienced by two separate law firms he has engaged one of which has
a Partner named Park Romney who is the cousin to Mitt Romney who is being
included in this matter of "hypocrisy defined" as "Brother Mitt" voted to Impeach
the President of the United States Donald Trump the very same week that Mitt was
clearly influential in "sabotaging" this matter to cover up the Charges of Abuse of
Power by The President to Be of the LDS Church and the approximate 50 Felony
Charges which the Plaintiff has compiled in the allegations listed under matter
#1:20-cv-00024-RJS-DBP. Mitt Romney is allegedly benefitting Politically by stolen
Tithes and Offerings of the LDS Church through the misappropriation of
"BILLIONS" of dollars which are allegedly going as a pass-through money from
Kirton McConkie PC to its sub contracted affiliate KIRKLAND ELLIS of Chicago
which curiously IS the most profitable law firm in the world on a per attorney basis.

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LEGAL QUESTIONS INVOLVING THE CASE

The question surrounding this matter is not “If” the Defendants are guilty (which
can be easily proven via the provisions of “Res Ipsa Loquitur”); the question is
whether or not there is anyone within the United States Judicial Branch,
Legislative Branch, and President Donald Trump who is President of the Executive
Branch of the United States will stand and uphold the Constitution and the
associated Civil Rights which is unquestionably “hanging by a thread”.


The victims herein have been deprived of their First Amendment Right to “Petition
the Government for a Redress of Grievances” which states that citizens are afforded
the right to seek Judicial Intervention without the fear of retribution or retaliation
(Plaintiff’s home was broken into on December 22nd, 2019 by a business partner
who tried to kill him following the plea to Judge Adam Mow for an Ex-Parte
Hearing which he still has not been entitled to have).


Plaintiff filed a complaint as per the Victims’ Rights Act (Complaint No. 20-012) to
the United States Department of Justice Office and the Executive Office for The
United States Attorneys as was indicated to do in the event that a member of the
Judicial System did not follow procedure concerning the rights provided by the
Constitution as defined by the General Assembly 40/34 and the steps the Justice
System should take in matters falling under RICO Act violations.


It is logical to assume that the entire United States Department of Justice has been
corrupted since the Department of The Ombudsman in Washington DC is acting
under The United States Attorney General William Barr who is listed as a
Defendant since his office sent a personal letter to the Plaintiff recently stating that
the “Case was Closed” and that the “Victims had no right to seek Judicial Review”
and that no Federal Offense had taken place and that each United States District
Judge in the Districts of Utah and Colorado are refusing to even render a decision.


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TREASON AND CRIMES OF CONSPIRACY AND REBELLION
18 U.S. Code CHAPTER 115—TREASON AND SEDITION
Whoever, owing allegiance to the United States, levies war against them or adheres
to their enemies, giving them aid and comfort within the United States or
elsewhere, is guilty of treason and shall suffer death, or shall be imprisoned not less
than five years and fined under this title but not less than $10,000; and shall be
incapable of holding any office under the United States.


18 U.S. Code § 2382.Misprision of treason
Whoever, owing allegiance to the United States and having knowledge of the
commission of any treason against them, conceals and does not, as soon as may be,
disclose and make known the same to the President or to some judge of the United
States, or to the governor or to some judge or justice of a particular State, is guilty
of misprision of treason and shall be fined under this title or imprisoned not more
than seven years, or both.


18 U.S. Code § 2383.Rebellion or insurrection
Whoever incites, sets on foot, assists, or engages in any rebellion or insurrection
against the authority of the United States or the laws thereof, or gives aid or
comfort thereto, shall be fined under this title or imprisoned not more than ten
years, or both; and shall be incapable of holding any office under the United States


18 U.S. Code § 2384.Seditious conspiracy
If two or more persons in any State or Territory, or in any place subject to the
jurisdiction of the United States, conspire to overthrow, put down, or to destroy by
force the Government of the United States, or to levy war against them, or to oppose
by force the authority thereof, or by force to prevent, hinder, or delay the execution
of any law of the United States, shall each be fined under this title or imprisoned
not more than twenty years, or both.


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18 U.S. Code § 2385.Advocating overthrow of Government
Whoever knowingly or willfully advocates, abets, advises, or teaches the duty,
necessity, desirability, or propriety of overthrowing or destroying the government of
the United States or the government of any State, Territory, District or Possession
thereof, with intent to cause the overthrow or destruction of any such government,
prints, publishes, edits, issues, circulates, sells, distributes, or publicly displays any
written or printed matter advocating, advising, or teaching the duty, necessity,
desirability, or propriety of overthrowing or destroying any government in the
United States or attempts to do so; or


Whoever organizes or helps or attempts to organize any society, group, or assembly
of persons who teach, advocate, or encourage the overthrow or destruction of any
such government by force or violence; or becomes or is a member of, or affiliates
with, any such society, group, or assembly of persons, knowing the purposes
thereof—Shall be fined under this title or imprisoned not more than twenty years,
or both.


As used in this section, the terms “organizes” and “organize”, with respect to any
society, group, or assembly of persons, include the recruiting of new members, the
forming of new units, and the regrouping or expansion of existing clubs, classes, and
other units of such society, group, or assembly of persons.


18 U.S. Code § 2387.Activities affecting armed forces generally
(a)Whoever, with intent to interfere with, impair, or influence the loyalty, morale,
or discipline of the military or naval forces of the United States:
(1) advises, counsels, urges, or in any manner causes or attempts to cause
insubordination, disloyalty, mutiny, or refusal of duty by any member of the
military or naval forces of the United States.




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18 U.S. Code § 2389.Recruiting for service against United States
Whoever recruits soldiers or sailors within the United States, or in any place
subject to the jurisdiction thereof, to engage in armed hostility against the same; or
Whoever opens within the United States, or in any place subject to the jurisdiction
thereof, a recruiting station for the enlistment of such soldiers or sailors to serve in
any manner in hostility against the United States Shall be fined under this title or
imprisoned not more than five years, or both.


THE MATTER HEREIN BEGAN WITH A COMMON CRIMINAL ACTION OF
WHAT IS KNOWN IN ESTATE PLANNING TERMS AS “THE OLD
SWITCHEROO” WHEREIN A JEALOUS SIBLING BRINGS THEIR ENTIRE
FAMILY IN TO BE FRAUDULENTLY DEPRIVED OF ONE’S RIGHT TO
PROVIDE THEIR POSTERITY WITH THEIR LEGACIES IN ADDITION TO
ILLEGALLY DEPRIVING AN UNSUSPECTING SIBLING OF THEIR
BIRTHRIGHT.


ALTHOUGH THE FACTS SURROUNDING THE RICO ACT VIOLATIONS ARE
IN AND OF THEMSELVES HORRIFIC CRIMES TYPICALLY USED BY WELL
KNOWN MAFIA FAMILIES; THE EVIDENCE WHICH HAS BEEN EXPOSED
WITHIN THIS MATTER REVEALS NOTHING SHORT OF THE INTENTIONAL
ASSAULT ON THE UNITED STATES CONSTITUTION AND THE ASSOCIATED
BILL OF RIGHTS WHICH IS BEING TRAMPLED ASSUNDER HEREIN.



THE FOLLOWING PAGES REPRESENT ONE OF THE RECENT FILINGS WITHIN THE
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO WHICH HAS
YET TO EVEN HAVE AN ACKNOWLEDGEMENT FROM EITHER THE DEFENDANTS
OR THE ASSOCIATED CHIEF JUDGE BRIMMER AND MAGISTRATE CREWS BOTH OF
WHOM REFUSE TO RESPECT THE LAWS SURROUNDING THEIR DUTIES AS
PROVIDED UNDER THE RICO ACT OF 1970 AND EVEN REFUSE PLAINTIFF’S
DEMANDS TO RENDER A DECISION KNOWING IT WOULD GO IMMEDIATELY TO
THE SUPREME COURT OF APPEALS..

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     IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF COLORADO


                                             MOTION TO COMPEL
                                             DEFENDANTS TO PROVIDE THE
                                             INFORMATION REQUIRED BY LAW
BRETT L. ELIASON, Agent, Trustee,            (AS PER THE ATTACHED PROPOSED
Beneficiary of The Estates of Max and        ORDERS)
Joyce Eliason et al.,

                                             ADJOINDER OF CASE NO. 1:20-CV-
                    Plaintiff,               0024-RJS-DBP (ELIASON et al VS THE
v.                                           CORPORATION OF THE PRESIDENT
                                             OF THE CHURCH OF JESUS CHRIST
THE UNITED STATES DEPARTMENT                 OF LATTER-DAY SAINTS et al.
OF JUSTICE

CHIEF JUDGE ROBERT S SHELBY OF               REQUEST FOR SUBMISSION FOR
THE US DISTRICT COURT FOR THE                DECISION ON CIVIL RICO ACT OF
DISTRICT OF UTAH                             1970 ALLEGATIONS WITH
                                             IMMEDIATE TRANSFER TO
MAGISTRATE JUDGE DUSTIN B PEAD               ATTORNEY GENERAL FOR
OF THE US DISTRICT COURT FOR                 PROSECUTION
THE DISTRICT OF UTAH


                    Defendant.
                                             Case No. 1:20-CV-00959-PAB



                                             Judge: PHILLIP A BRIMMER

                                             Magistrate Judge: S. KATO CREWS




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Plaintiff Brett L Eliason hereby states that he is the Attorney in fact and Agent, Executor,

Trustee, and Beneficiary representing his Father Max D Eliason, The Estates of Max

and Joyce Eliason and hereby files this Motion to Compel the Defendants to provide the

information requested herein and Adjoins the existing Case No. 1:20-CV-0024-RJS-

DBP (ELIASON et al VS THE CORPORATION OF THE PRESIDENT OF THE

CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS et al (which is currently under

the Jurisdiction of Defendants Chief Judge Robert J Shelby and Magistrate Judge

Dustin B Pead of The United States District Court for the District of Utah.



DISCUSSION

The Plaintiff filed the afore mentioned complaint within the United States District Court

for the District of Utah on February 25th, 2020 and did so under urgent distress and with

an associated plea for assistance as Victims as defined by The General Assembly

Resolution 40/34 as it pertains to the relief entitled to those who are considered victims

of Gross Violations of Civil Rights through the Abuse of Power of Office and the Abuse

of Power of Government and Associations.



Joyce S Eliason passed away on May 21st, 2018 at which time the Law Office of Kirton

McConkie acting as the Agent for The Corporation of The President of The Church of

Jesus Christ of Latter-Day Saints illegally named Lisa Stephens as the Sole Trustee of

the Max and Joyce Eliason Trusts dated October 28th, 2015. Max D Eliason is still alive

and the Defendants have “locked him under house arrest” and had his name erased as

ever having existed as either Settlor or Co-Trustee of this A/B Trust (which is a Felony).


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THE RICO ACT OF 1970

The Racketeer Influenced and Corrupt Organizations (RICO) Act is a United States

federal law that provides for extended criminal penalties and a civil cause of action for

acts performed as part of an ongoing criminal organization. The RICO Act focuses

specifically on racketeering and allows the leaders of a syndicate to be tried for the

crimes they ordered others to do or assisted them in doing, closing a perceived loophole

that allowed a person who instructed someone else to, for example, murder, to be

exempt from the trial because they did not actually commit the crime personally.[1]

RICO was enacted by section 901(a) of the Organized Crime Control Act of 1970
(Pub.L. 91–452, 84 Stat. 922, enacted October 15, 1970) and is codified at 18
U.S.C. ch. 96 as 18 U.S.C. §§ 1961–1968. G. Robert Blakey, an adviser to the United
States Senate Government Operations Committee, drafted the law under the close
supervision of the committee's chairman, Senator John Little McClellan. It was enacted
as Title IX of the Organized Crime Control Act of 1970,



Under RICO, a person who has committed "at least two acts of racketeering activity"

drawn from a list of 35 crimes—27 federal crimes and 8 state crimes—within a 10-year

period can be charged with racketeering if such acts are related in one of four specified

ways to an "enterprise". Those found guilty of racketeering can be fined up to $25,000

and sentenced to 20 years in prison per racketeering count. In addition, the racketeer

must forfeit all ill-gotten gains and interest in any business gained through a pattern of

"racketeering activity."

When the U.S. Attorney decides to indict someone under RICO, they have the option of

seeking a pre-trial restraining order or injunction to temporarily seize a defendant's

assets and prevent the transfer of potentially forfeitable property, as well as require the

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defendant to put up a performance bond. This provision was placed in the law because

the owners of Mafia-related shell corporations often absconded with the assets. An

injunction or performance bond ensures that there is something to seize in the event of

a guilty verdict.

In many cases, the threat of a RICO indictment can force defendants to plead guilty to

lesser charges, in part because the seizure of assets would make it difficult to pay a

defense attorney. Despite its harsh provisions, a RICO-related charge is considered

easy to prove in court since it focuses on patterns of behavior as opposed to criminal

acts.[3]

RICO also permits a private individual "damaged in his business or property" by a

"racketeer" to file a civil suit. The plaintiff must prove the existence of an "enterprise".

The defendant(s) are not the enterprise; in other words, the defendant(s) and the

enterprise are not one and the same.[4] There must be one of four specified

relationships between the defendant(s) and the enterprise: either the defendant(s)

invested the proceeds of the pattern of racketeering activity into the enterprise (18

U.S.C. § 1962(a)); or the defendant(s) acquired or maintained an interest in, or control

of, the enterprise through the pattern of racketeering activity (subsection (b)); or the

defendant(s) conducted or participated in the affairs of the enterprise "through" the

pattern of racketeering activity (subsection (c)); or the defendant(s) conspired to do one

of the above (subsection (d)).[5] In essence, the enterprise is either the 'prize,'

'instrument,' 'victim,' or 'perpetrator' of the racketeers.[6] A civil RICO action can be filed

in state or federal court.[7]




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Both the criminal and civil components allow the recovery of treble

damages (damages in triple the amount of actual/compensatory damages).

Although its primary intent was to deal with organized crime, Blakey said that Congress

never intended it to merely apply to the Mob. He once told Time, "We don't want one

set of rules for people whose collars are blue or whose names end in vowels, and

another set for those whose collars are white and have Ivy League diplomas."[3]

Initially, prosecutors were skeptical of using RICO, mainly because it was unproven.

The RICO Act was first used by the US Attorney's Office in the Southern District of New

York on September 18, 1979, in the United States v. Scotto. Scotto, who was convicted

on charges of racketeering, accepting unlawful labor payments, and income tax

evasion, headed the International Longshoreman's Association. During the 1980s and

1990s, federal prosecutors used the law to bring charges against several Mafia figures.

The second major success was the Mafia Commission Trial, which ran from February

25, 1985, through November 19, 1986. Rudy Giuliani indicted 11 organized

crime figures, including the heads of New York's so-called "Five Families", under the

RICO Act on charges including extortion, labor racketeering, and murder for

hire. Time magazine called this "Case of Cases" possibly "the most significant assault

on the infrastructure of organized crime since the high command of the Chicago

Mafia was swept away in 1943", and quoted Giuliani's stated intention: "Our approach is

to wipe out the five families."[8] Gambino crime family boss Paul Castellano evaded

conviction when he and his underboss, Thomas Bilotti, were murdered on the streets

of Midtown Manhattan on December 16, 1985. However, three heads of the Five

Families were sentenced to 100 years in prison on January 13,


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1987.[9][10] Genovese and Colombo leaders, Tony Salerno and Carmine

Persico received additional sentences in separate trials, with 70-year and 39-year

sentences to run consecutively. He was assisted by three Assistant United States

Attorneys: Michael Chertoff, the eventual second United States Secretary of Homeland

Security and co-author of the Patriot Act; John Savarese, now a partner at Wachtell

Lipton Rosen & Katz; and Gil Childers, a later deputy chief of the criminal division for

the Southern District of New York and now managing director in the legal department at

Goldman Sachs.

A more expansive view holds that in order to be found guilty of violating the RICO

statute, the government must prove beyond a reasonable doubt: (1) that an enterprise

existed; (2) that the enterprise affected interstate commerce; (3) that the defendant was

associated with or employed by the enterprise; (4) that the defendant engaged in a

pattern of racketeering activity; and (5) that the defendant conducted or participated in

the conduct of the enterprise through that pattern of racketeering activity through the

commission of at least two acts of racketeering activity as set forth in the

indictment. United States v. Phillips, 664 F. 2d 971, 1011 (5th Cir. Unit B Dec.

1981), cert. denied, 457 U.S. 1136, 102 S. Ct. 1265, 73 L. Ed. 2d 1354 (1982).


An "enterprise" is defined as including any individual, partnership, corporation,

association, or other legal entity, and any union or group of individuals associated in fact

although not a legal entity. 18 U.S.C.A. § 1961(4) (West 1984). Many courts have noted

that Congress mandated a liberal construction of the RICO statute in order to effectuate

its remedial purposes by holding that the term "enterprise" has an expansive statutory



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definition. United States v. Delano, 825 F. Supp. 534, 538-39 (W.D.N.Y. 1993), aff'd in

part, rev'd in part, 55 F. 3d 720 (2d Cir. 1995), cases cited therein.


"Pattern of racketeering activity" requires at least two acts of racketeering activity

committed within ten years of each other. 18 U.S.C.A. § 1961(5) (West 1984). Congress

intended a fairly flexible concept of a pattern in mind. H.J., Inc. v. Northwestern Bell Tel.

Co., 492 U.S. 229, 239, 109 S. Ct. 2893, 2900, 106 L. Ed. 2d 195 (1989). The

government must show that the racketeering predicates are related, and that they

amount to or pose a threat of continued criminal activity. Id. Racketeering predicates are

related if they have the same or similar purposes, results, participants, victims, or

methods of commission, or otherwise are interrelated by distinguishing characteristics

and are not isolated events. Id. at 240, 109 S. Ct. at 2901; Ticor Title Ins. Co. v. Florida,

937 F. 2d 447, 450 (9th Cir. 1991). Furthermore, the degree in which these factors

establish a pattern may depend on the degree of proximity, or any similarities in goals or

methodology, or the number of repetitions. United States v. Indelicato, 865 F. 2d 1370,

1382 (2d Cir.), cert. denied, 493 U.S. 811, 110 S. Ct. 56, 107 L. Ed. 2d 24 (1989).


Continuity refers either to a closed period of repeated conduct, or to past conduct that

by its nature projects into the future with a threat of repetition. H.J., Inc., 492 U.S. at

241-42, 109 S. Ct. at 2902. A party alleging a RICO violation may demonstrate

continuity over a closed period by proving a series of related predicates extending over

a substantial period of time. Id. Predicate acts extending over a few weeks or months

and threatening no future criminal conduct do not satisfy this requirement as Congress

was concerned with RICO in long-term criminal conduct. Id.



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As to the continuity requirement, the government may show that the racketeering acts

found to have been committed pose a threat of continued racketeering activity by

proving: (1) that the acts are part of a long-term association that exists for criminal

purposes, or (2) that they are a regular way of conducting the defendant's ongoing

legitimate business, or (3) that they are a regular way of conducting or participating in

an ongoing and legitimate enterprise. Id.


When a RICO action is brought before continuity can be established, then liability

depends on whether the threat of continuity is demonstrated. Id. However, Judge Scalia

wrote in his concurring opinion that it would be absurd to say that "at least a few months

of racketeering activity. . .is generally for free, as far as RICO is concerned." Id. at 254,

109 S. Ct. at 2908. Therefore, if the predicate acts involve a distinct threat of long-term

racketeering activity, either implicit or explicit, a RICO pattern is established. Id. at 242,

109 S. Ct. at 2902. The RICO statute expressly states that it is unlawful for

any person to conspire to violate any of the subsections of 18 U.S.C.A.

§ 1962. The government need not prove that the defendant agreed with

every other conspirator, knew all of the other conspirators, or had full

knowledge of all the details of the conspiracy. Delano, 825 F. Supp. at 542.

All that must be shown is: (1) that the defendant agreed to commit the

substantive racketeering offense through agreeing to participate in two

racketeering acts; (2) that he knew the general status of the conspiracy; and

(3) that he knew the conspiracy extended beyond his individual role. United

States v. Rastelli, 870 F. 2d 822, 828 (2d Cir.), cert. denied, 493 U.S. 982,

110 S. Ct. 515, 107 L. Ed. 2d 516 (1989).


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THE ESTATES OF MAX AND JOYCE ELIASON

CASH                         $ 10 Million (In 5 separate accounts at Zions and Wells)
INVESTMENTS                  $ 15 Million (In 5 separate accounts at TD Ameritrade)
ELIASON EIGHT, LLC           $100 Million (Oil and Gas Properties in UT, TX, CO, WY)
ELIASON ENT, LLC             $ 25 Million (Income Producing R/E; Residence, Etc.)
STILLMAN SEVEN LLC           $ 50 Million (7,500 Acre Ranch in family since 1904).
       TOTAL                 $200 MILLION


  ➢ KMC Law illegally named Lisa Stephens as the “Sole Trustee” upon the death of Joyce
    S Eliason on May 21st, 2018 despite the fact that this Estate Plan was done under the
    provisions of an “A/B Trust” with Max D Eliason being the Co-Settlor and Co-Trustee
    meaning all assets should still be found within an apparent non-existent Marital Trust.

  ➢ With this illegally obtained title of Sole Trustee; KMC Law empowered her and her
    husband Bryan Stephens to take every dollar out of every account of every Trust and
    from every Business Holding so that neither Max D Eliason or myself would have access
    to any of this capital to litigate for the rights we were told to “Sue KMC Law” to protect as
    “Client and youngest Beneficiary” while KMC Law and the “COP” represented the Son in
    Law of Max and Joyce Eliason in Fraud.

  ➢ The Oil Properties which were located within Eliason Eight, LLC were never to be
    removed and yet they have been illegally transferred to The Eliason 2015 Trust and The
    Eliason 2016 Trust with provisions made for a “Trust Protector” from KMC Law to be
    able to sell off assets or create any beneficiaries of his choosing including the creation of
    “Charitable Trusts” which KMC Law refuses to discuss. The “COP” and KMC Law
    refuse to allow a forensics audit or to even provide financials with full disclosure.

  ➢ The Defendants illegally transferred $722K from Eliason Eight, LLC and put it into the
    Eliason 2016 Trust and then wired this amount to pay income taxes on Illegally removed
    oil producing properties with the proceeds being paid to unknown but illegal recipients.
    There were three counts of “Wire Fraud” in 2018 alone which carries a prison sentence
    of 20 years for each respective count. The recipients did not likely pay taxes on the
    stolen oil properties which would result in approximately $100 Million of tax evasion to
    the various participants which KMC Law and the “COP” refuse to provide.

  ➢ Stillman Seven LLC was illegally transferred out of the Estate of Joyce S Eliason to the
       fraudulently created Grandchildren’s Trust (KMC Law refuses to provide documentation)
       and which was illegally modified after the Defendants administered an illegal prescription
       of morphine and forced her to sign an invalid document on April 17th, 2018 which was
       followed by a morphine induced coma and is considered “attempted murder” herein.


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THE CRIMES WHICH ARE ASSOICATED AND ALLEGED HEREIN THAT QUALIFY

FOR PUNISHMENT UNDER THE RICO ACT OF RACKETEERING AND ORGANIZED

CRIME INCLUDE THE FOLLOWING”

  1. Any act or threat involving Murder (Both Joyce Eliason and Brett Eliason)

  2. Bribery (All Compensation paid to the “COP” and KMC Law was Bribes)

  3. Extortion (See the Cause of Action relating to “My 3-D ME”)

  4. Embezzlement (The combined estates of Max and Joyce have been embezzled.

  5. Fraud (Of EVERY document within the Estate Plan of Max and Joyce Eliason)

  6. Wire Fraud (Funds were stolen from Eliason Eight and wired to the IRS for taxes)

  7. Financial Institution Fraud (All Accounts illegally closed without accounting).

  8. Obstruction of Justice (Every Motion the Defendants File and block Justice)

  9. Obstruction of Criminal Investigation (Judge Shelby, Jude Pead, Judge Mow etc.)

  10. Obstruction of State or Local Law Enforcement (Unified Police, District Attorneys)

  11. Tampering with a witness (Bribing and/or coercing Plaintiffs’ Attorneys etc.)

  12. Tampering with a Victim (Declaring Max Eliason incompetent and Plaintiff insane

  13. Retaliation against a Victim (Max is under house arrest while they “undo” Plaintiff.

  14. Theft of Trade Secrets (KMC Law supported the theft of My 3-D ME Technology)

  15. Money Laundering (Perform a forensic audit of cash paid to Kirkland Ellis Law)

  16. Tax Evasion (The $100 Million of stolen Oil Properties was not reported to IRS)

  17. Falsification of Government Documents (See Probate Court Trust Documents)

  18. Felony Defamation (Fraudulent allegations filed against plaintiff with State APS)

  19. Abuse and Exploitation of Vulnerable Adults and Children

  20. Abuse of Power of Office with malicious financial and emotional assaults



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THE IMMEDIATE INJUNCTION ACTIONS WHICH SHOULD BE TAKEN AS PER US LAW:

  A. THE COURT SHOULD FORCE KIRTON MCCONKIE TO CEASE ALL HOSTILITIES
     AGAINST THE ELIASON FAMILY WHICH INCLUDES MOTIONS FOR DISMISSAL
     AND FORCING THEIR VICTIM TO BE HIS OWN PRO SE ATTORNEY WHEN THEY IN
     FACT WERE PAID TO REPRESENT HIM IMPARTIALLY WITH HIS SIBLINGS (BUT
     ONLY AFTER THEIR CLIENT MAX DIED).



  B. IMMEDIATE STEPS SHOULD BE TAKEN TO PROTECT THE SAFETY OF THE
     VICTIMS (PAST, PRESENT, AND FUTURE) INCLUDING THE IMMEDIATE
     ADMISSION OF GUILT BY THE “COP” AND KIRTON MCCONKIE THAT THEY ARE
     ILLEGALLY PROHIBITING BRETT L ELIASON FROM SEEING HIS OWN FATHER
     WITH NO OTHER REASON THAN TO CONCEAL THEIR CRIMES AND A PUBLIC
     APOLOGY (AS PER VICTIMS’ RIGHTS UNDER GENERAL ASSEMBLY 40/34 AS IT
     RELATES TO ABUSE OF POWER) MADE WITH A DISCLOSURE AS TO EACH
     PARTICIPANT WHO IS KNOWINGLY BEING INVOLVED IN THIS “MAFIACRACY”
     AND TO TREAT THE DEFENDANTS AS “DESPERATE CRIMINALS” AND ACT
     ACCORDINGLY THROUGH LOCAL LAW ENFORCEMENT AND THE FBI.


  C. THE “COP” AND KMC LAW ARE TO RESTORE THE ESTATES OF MAX AND JOYCE
     S ELIASON TO THE CONDITION THEY WERE IN PRIOR TO THE RELATIONSHIP
     BEING CONSUMMATED UNDER FRAUDULENT MISREPRESENTATION AND A
     FORENSICS AUDIT PERFORMED ON ALL ASSETS AND TO EXPOSE EVERY
     RECIPIENT OF ELIASON EIGHT, LLC OIL AND OR ANY OF THE INSURANCE
     PROCEEDS WHICH WAS PLACED ON THE LIFE OF JOYCE S ELIASON ILLEGALLY
     AND THE PROCEEDS DISTRIBUTED AS PER FRAUDULENT VERBIAGE FOUND
     WITHIN THE ELIASON 2016 TRUST.

  D. KIRTON MCCONKIE AND THE “COP” ARE TO DISCLOSE AND RETURN ALL
     COMMPENSATION THAT THEY HAVE RECEIVED THROUGH ANY SOURCE WHICH
     SINCE EVERY DIME PAID IS CONSIDERED A FELONY BRIBE (INCLUDING OIL
     PROPERTIES, REAL ESTATE, INSURANCE PROCEEDS, AND “RETAINER AND
     HOURLY BILLING FEES”). THIS AMOUNT IS TO BE AWARDED TREBLE DAMAGES
     AND RETURNED TO PLAINTIFF IMMEDIATELY FOR HIS PRO SE “LEGAL COSTS”.


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DALLIN H OAKS; PRESIDENT OF THE QUORUM OF THE TWELVE APOSTLES OF
THE CHURCH OF JESUS CHRIST OF LATTER-DAY SAINTS; (TRUSTEE OF COP)



Dallin H Oaks should be deposed under Oath IMMEDIATELY as to his involvement

within this matter and to have him as a former Utah Supreme Court Judge who is the

next “Prophet to Be” of the LDS Church and to explain why he has not heretofore taken

any actions of “Good Faith” towards the clients who are victims of “Conspiracy to

Commit Aggravated Retaliation against Victims and the associated Aggravated Abuse

and Exploitation of the Vulnerable Adults and children KMC Law and the “COP” were

paid to protect.



Dallin H Oaks is the acting Trustee of “The COP” and he is the acting High Managerial

Agent directing the actions of KMC Law and it is felt that he is responsible for

implementing this strategy of “Estate Planning Murder” on the Eliason Family which

goes unchecked today and which may involve countless victims throughout the world

via Kirton McConkie Law Offices and Kirkland Ellis Law Offices in Chicago.



An undisclosed source and victim of this type of fraud coming from “The Honorable

Dallin H Oaks” (who lives in Chicago) reports that Kirkland Ellis is allegedly receiving

subcontracted business from the LDS Church whereby it is able to launder the

hundreds of billions of unaccounted for Tithes and Offerings (as per the Whistleblower

Report from Lars Nielsen concerning the concealed $100 Billion fund; the estimated

income of the “COP” at $15 Billion/year while the church returns only $50 Million per

year).

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Dallin H Oaks is a reported former CIA Operative under George H Bush and who

became an FBI recruiter who utilized his position as President of BYU and a Professor

at the J Reuben Clark Law School to “recruit” the members of the “Mormon Mafia” into

powerful positions within the legal industry and the state governments along with the

leadership of the LDS Church.



The recent report of the LDS Church breaking the Federal Laws concerning 501-C3

Corporations and the associated $100 Billion of cash sitting untouched for over 20

years. Becomes extremely suspicious when considering that it has contributed

approximately $3.5 Billion to society over the past 20 years while its income from Tithes

and Offerings and for-profit operations is estimated at $15 Billion per year. That implies

that the LDS Church has returned approximately 3-4 months of Tithes and Offerings

which it has accrued over the past 20+ years.



That would imply that there is a missing $300 Billion of “Tithes and Offerings” since the

$100 Billion was already there 20 years ago. The LDS Church is returning 1% of the

“donations” it receives and has never produced an audit of its actions even though the

members of the LDS Church such as “ME” deserve to know where the millions of

dollars of tithes and offerings the Eliason Family has paid (along with the embezzled

$200 Million estates) and whether or not these Sacred Tithes and Offerings are being

used to influence the Political Agenda of Dallin H Oaks who was fired from BYU as

President by President Ezra Taft Benson because “Brother Oaks” ideology concerning

socialism and communism were considered to be too radical for the students.



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It was immediately thereafter that Dallin H Oaks became the Utah Supreme Court

Justice after being nominated twice to be a member of The United States Supreme

Court. It was also at this time in the history of the church that President Ezra Taft

Benson warned the Church more than any other prophet that proceeded him; that the

works of the “Secret Societies and Secret Combinations such as Gadianton Robbers”

would challenge that Saints in the Latter-Days as “Murderous Cults” that would infiltrate

every organization within State and Church and whose design is far from being

considered “Divine”.



It is alleged that Dallin H Oaks has utilized his position of power within the LDS Church

to gain control of one of the most powerful and consistent cash flows in existence on the

planet earth; and has used it since the beginning to promote his “NEW WORLD

ORDER” Philosophy which was openly spoken of by President George H Bush and

George W Bush as being their ultimate objective.



THE THREAT TO NATIONAL SECURITY AND THE US CONSTITUTION

When one understands the “Pure Evil” which is found herein and that the same

individual who causes countless members of the “LGBTQ” Community to kill

themselves following his speeches of “Hate Crimes” from the LDS Pulpit; it is the most

repulsive form of Hypocrisy and Lawlessness coming from one who professes to not

only protect and be an hones Judge of Mankind; but also sits within the Holy Walls and

sanctuary of the Temple while orchestrating the “Greatest Lie of All Times” which

Adolph Hitler stated would lead to success in the scriptures of “Mein Kamph”.



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With the understanding of his capacity to have no remorse and who declines to

apologize to “Mama Dragons” whose children have killed themselves because of his

words; and to combine this fact with his intentional advertisement that the lawyers of

KMC Law are “The Attorneys of Jesus Christ Himself” and to “bring your wealthy

estates to us” (so we can put them up for bids to the highest bribe paid under the Craig

McCullough Two for one estate scamming special which comes with free illegally

morphine to put down that mom that won’t die before her illegal life insurance policy

expires). Dallin H Oaks is without a doubt the man who is the Trustee over the funds of

the “COP” and his absolute power has absolutely led to absolute corruption as defined

by his entitlement to “Rape and Pillage” the estates of Max and Joyce Eliason and to

still be doing “business as usual” as he has done for the past seven years.



His association with Presidents and Political figures cannot be denied; and his known

“communism and socialistic” ideology was troubling enough for him to get fired from

being President of BYU where he was criticizing his own Church Leaders (which he now

says is intolerable). He cannot answer one “Yes or No” Question within this matter and

his integrity and honesty are “in the red” as far as credibility is concerned and there is

no title on earth that can be allowed to act in this fashion of playing “Fourth Reich”

Kingpin and Gatekeeper while forcing kids to kill themselves from the pulpit. His ties at

Kirkland Ellis not only include suspicious “inflated lawyer billings”; but this firm is also

the known Firm that represents The Rockefellers and The Rothschilds who are self-

stated “New World Order” Illuminati members whose definition of “One World

Government and One World Religion” also believes in THE WORLD ELITE.



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THE ILLUMINATED WORLD ELITE UNDER THE NEW WORLD ORDER:

The connection of just “WHO” Dallin H Oaks is and his ties into the underground world
of Conspiracy and his defiance of the Laws of God and Man are to be considered a
viable threat to the Safety of The Entire World when it is understood that the “Illuminati”
have the goal of World Domination which includes the ownership of everything including
all of the Oil Resources in the entire world (thus the reason why the Estates of Max and
Joyce Eliason have been assaulted for over seven years).


Dallin H Oaks would clearly match the definition of the Lawless One and The Son of
Destruction as per prophetic scripture with the Embezzlements from the Eliason Family
putting him at number eight in the division of “most corrupt leaders in history” and he will
go to a distant first position when it is exposed where the missing hundreds of billions of
dollars have been applied


The HUMANITY of the entire World should fear this matter herein due to the fact that
the “World Elite” have sworn a vow of loyalty as “Luciferians” and that they are willing to
commit any crime as long as it promotes the well-being of “The New World Order” (such
as the Fifty Felonies Herein).   Just as was the case with “Brother Adolph Hitler”; the
agenda of “exterminating” those whose right to life is considered as dispensable as the
civil rights they have stolen from the victims herein; the agenda of the New World Order
includes the extinction of Humanity as we know it; in order for the “World Elite” to live in
their new “Utopian La La Land” where they have raped and pillaged the earth for
themselves. HOW CONVENIENT WOULD IT BE FOR THIS “DARK EVIL” TO
SUDDENLY RELEASE A NEW VIRUS STRAIN NOW KNOWN AS THE COVID-19
PANDEMIC SO AS TO COMPLETE THEIR EVIL PLAN AND WIPE OUT THE
REQUIRED NUMBERS OF INNOCENT LIFE WHILE THEY HAVE BEEN
VACCINATED. THE DEFENDANTS HEREIN HAVE NO GUILT OF CONSCIOUS
WHATSOEVER FOR COMPLETELY DESTROYING MY ENTIRE FAMILY AND THEY
LITERALLY COULD COMMIT “ESTATE PLANNING MURDER” ON ANYONE VIA THE
HELL’S ANGELS OF KIRTON MCCONKIE AND UNDER THE DIRECTION OF A MAN
WHOSE EVERY ACTION REFLECTS “HAIL HITLER….”

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       PROPOSED ORDER BY THE UNITED STATES
        DISTRICT COURT OF UTAH OR COLORADO

THE UNITED STATES DISTRICT COURT HEREBY COMPELS AND DEMANDS THAT THE
CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS CHRIST OF LATTER DAY
SAINTS (AS PRINCIPAL) BE REQUIRED TO ACCOUNT FOR THE MISSING ASSETS OF THE
ESTATES OF MAX AND JOYCE ELIASON WHICH HAVE BEEN EMBEZZLED THROUGH THE LAW
OFFICES OF KIRTON MCCONKIE WHO IS AN AGENT ACTING ON THEIR BEHALF AND UNDER
THE DIRECTION OF THE “HIGH MANAGERIAL AGENT DALLIN H OAKS” (PRESIDENT OF THE
QUORUM OF THE TWELVE APOSTLES OF THE CHURCH OF JESUS CHRIST OF LATTER-DAY
SAINTS).


IN ADDITION TO THE IMMEDIATE ACCOUNTING WHICH IS OWED BY STATE AND FEDERAL LAW
TO BE PROVIDED TO THE PLAINTIFF AS THE ACTING AGENT, TRUSTEE, PERSONAL
REPRESENTATIVE, AND BENEFICIARY OF THE MAX AND JOYCE ELIASON ESTATES, IS THE
IMMEDIATE DEMAND TO DISCLOSE UNDER WHAT LEGAL BASIS AND JURISDICTION THE
DEFENDANT CORPORATION OF THE PRESIDENT OF THE CHURCH OF JESUS CHRIST OF
LATTER DAY SAINTS CAN CITE WHICH PERMITS THEM TO LEGALLY REPRESENT DEFENDANTS
BRYAN AND LISA STEPHENS (AS SOLE TRUSTEE), AND MARK AND LAURIE ELIASON WITHOUT
DISCLOSURE TO EITHER VICTIM MAX D ELIASON (WHO IS SETTLOR AND CO-TRUSTEE) OR HIS
SON BRETT L ELIASON.


THE DEFENDANTS ARE ADVISED THAT THEY ARE CONSIDERED PERSONALLY LIABLE FOR
BOTH CRIMINAL AND CIVIL DAMAGES ASSOCIATED HEREIN AND ARE RESPONSIBLE UNER THE
UNITED STATES LAWS SURROUNDING CORPORATE OFFICER LIABILITY AND AGENCY AND
THAT ANY CONCEALMENT HEREIN OR HEREAFTER IS A FELONY CHARGE OF “OBSTRUCTION
OF JUSTICE” AND WILL BE HELD ACCOUNTABLE WITH NO IMMUNITY OFFERED FOR ABUSING
ONE’S POWER OF OFFICE ALSO ALLEGED HEREIN UNDER THE GENERAL ASSEMBLY 40/34.


Signed this ___ day of ___________, 20___.

                                             BY THE HONORABLE UNITED STATES DISTRICT
                                             COURT CHIEF JUDGE PHILLIP, A BRIMMER FOR
                                             THE DISTRICT OF COLORADO



                                             ______________________________________

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CONCLUSION AND REQUEST BY THE VICTIMS

This is the most tragic display of how corruption which goes unchecked leads to the

demise and the undermining of society as we know it. Anyone who “knows” or

understands the level of corruption herein and is not doing everything in their power to

bring the guilty “World Elite to Justice”; is literally “commanding” that the corruption

continues and grows until it wipes out the planet before the COVID 19 Virus can do it.



This should be considered an URGENT matter to the Government especially when it

implies that Presidential appointment such as Chief Judge Robert J Shelby are

implicated with little possibility that he or Magistrate Dusting Pead have for not taking

this matter seriously when filed under RICO on February 25th, 2020 and them not even

requesting that the “COP” or KMC Law provide the legal documents which Plaintiff is

entitled to on behalf of himself and as the Executor and Agent of Max D Eliason with the

associated duties of Trustee, Beneficiary, and Member Manager of Eliason Eight, LLC

and Eliason Enterprises, LLC.



It is proposed that the actions herein be considered “Unconstitutional” as per the rules

of the United States District Court System and that the appropriate document be

executed by either Judge Brimmer or Judge Crews and that the Attorney General of

either the District of Colorado or Attorney General William Barr to prosecute this matter

and put out the “evil fire” before it consumes the Freedoms which America was built

upon by our divinely inspired Founding Fathers whose voices scream from the grave

along with an entire army of ancestors all who are “all in” during this Armageddon.



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If anyone is looking for proof that “God is not dead; nor doth he sleep”; the events which

have brought this matter to the Tenth Circuit Court of The United States and The District

of Colorado would inspire even an “atheist” to follow the trail of countless interventions

and the associated “unfolding of events” before Plaintiff’s eyes which in the end will

prove the Defendants lives are all based on lies. I would dare anyone who is following

this matter and who is familiar with 3 Nephi and other biblical scripture associated with

“End Times” to dispute that this “Revealing of the Lawless Man and The Son of

Destruction” is before the eyes of the world and that the “Prince of Lies” would be found

within the “Sanctuary of The Temple Walls” after a Seven Year Battle which would

happen immediately preceding “The Great Apostacy” which would likely be the

imminent result of The Officers of COP and the dozens of associated “righteous”

members of society being locked up for 1,000 years and the LDS Church bankrupted by

not being able to correctly answer the one blaring question from scripture concerning

Fiduciary Duty. I ask once again that the First Presidency and the Quorum of The

Twelve Apostles of The Church of Jesus Christ of Latter-Day Saints to answer the

simplest of all questions that shall determine your innocence or guilt at the

“JUDGEMENT BAR EXAM” … “DO YOU SERVE ME?” Your ending is foretold

in prophesy in a battle wherein “God and ME” and “We The People of The United

States” are holding the Defendants in checkmate on page one and they refuse to admit

that one “PAWN of GOD” could take out a their “King” and Legion of Thugs who are all

playing for the “ARMY of FRAUD”. Welcome to your own personalized form of

Armageddon and “AMEN” to your Priesthood and rights to be called Free Men; A Dieu.

                                   /s/ Brett L. Eliason


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